              Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 1 of 75



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

NATIONAL IMMIGRANT JUSTICE CENTER
224 S. Michigan Avenue, Suite 600                        Case No.:
Chicago, IL 60604;

IMMIGRANT DEFENDERS LAW CENTER                           COMPLAINT
634 S. Spring Street, 10th Floor.
Los Angeles, CA 90014;
                                                         Document Electronically Filed
FLORENCE IMMIGRANT & REFUGEE RIGHTS
PROJECT
P.O. Box 86299
Tucson, AZ 85754; * and                                  No Jury Requested

LAS AMERICAS IMMIGRANT ADVOCACY
CENTER
1500 E. Yandell Drive,
El Paso, TX, 79902
                     Plaintiffs,

       vs.

THE EXECUTIVE OFFICE FOR IMMIGRATION
REVIEW
c/o Office of the Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001;

JAMES R. McHENRY III, in his official capacity as
the Director of the Executive Office for Immigration
Review,
c/o Office of the Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001;

U.S. DEPARTMENT OF JUSTICE
c/o Office of the Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001; and


       *
           Motion to proceed without physical address forthcoming.
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 2 of 75




JEFFREY A. ROSEN, in his official capacity as the
Acting Attorney General,
c/o Office of the Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001
                       Defendants.




       Plaintiffs National Immigrant Justice Center, Immigrant Defenders Law Center, Florence

Immigrant & Refugee Rights Project; and Las Americas Immigrant Advocacy Center, by and

through their attorneys, as and for their Complaint against Defendants Jeffrey A. Rosen, the United

States Department of Justice, James R. McHenry III, and the Executive Office for Immigration

Review, allege as follows:

                                        INTRODUCTION

               Plaintiffs bring this case to challenge a sweeping final rule that will radically alter

the asylum process: Procedures for Asylum and Withholding of Removal (the “Rule”), 85 Fed.

Reg. 81,698 (Dec. 16, 2020). This Rule will transform the means by which the United States

adjudicates claims for asylum, withholding of removal, and protection under the Convention

Against Torture (“CAT”) by migrants fleeing persecution. It purports to make mere procedural

changes, but, if it is permitted to take effect on January 15, 2021, the Rule will impose often

insurmountable barriers to the assertion of claims for asylum and withholding of removal, contrary

to our country’s longstanding commitment to provide safety to migrants fleeing persecution.

               The Executive Office for Immigration Review (“EOIR”), a component of the

United States Department of Justice (“DOJ”), promulgated the Rule on December 16, 2020, after

an unusually short, 30-day comment period. It was signed by Defendant James R. McHenry III,

EOIR’s Director. The Rule imposes numerous arbitrary and unwarranted procedural barriers to


                                                 2
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 3 of 75




the assertion of valid claims for asylum, withholding of removal, and CAT. If the Rule is allowed

to take effect, it will result in the denial of many valid claims for protection and require the return

of refugees to persecution or torture, contrary to the requirements of the Refugee Act of 1980, the

Immigration and Nationality Act (“INA”), the Foreign Affairs Reform and Restructuring Act of

1998 (“FARRA”), the Constitution, and the United States’ obligations under international law.

Refugee Act of 1980, Pub. L. No. 96-212, § 101, 94 Stat. 107 (1980); INA, 8 U.S.C. § 1101 et seq.

(2018); FARRA, Pub. L. No. 105-277, div. G, Title XXII, § 2242, 112 Stat. 2681, 2681-822 (1998)

(codified as Note to 8 U.S.C. § 1231); 1967 United Nations Protocol Relating to the Status of

Refugees (“UN 1967 Protocol”), 19 U.S.T. 6223, TIAS No. 6577, 606 U.N.T.S. 267 (1967).

               First, the Rule imposes a 15-day filing deadline for a noncitizen in “asylum-and-

withholding only” proceedings or “withholding only” proceedings to file an application for asylum

and withholding of removal, with attached corroborating evidence, even though the INA mandates

a much longer, one-year deadline. The Rule does so despite ample evidence that many noncitizens

will be unable to comply with the 15-day deadline, and without any evidence that the 15-day

deadline will in fact promote EOIR’s purported interest in the expeditious adjudication of asylum

claims.

               Second, the Rule requires that asylum applications be rejected if they are not

accompanied by proof of payment of a newly imposed application fee, despite clear evidence that

many noncitizens—including those who are detained and those who are required to wait in Mexico

for the duration of their proceedings—do not have access to funds or the payment methods the

government requires for payment of the fee.

               Third, the Rule provides that EOIR must reject asylum applications if EOIR

discovers at any time that even a single, plainly inapplicable question was not answered, and



                                                  3
              Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 4 of 75




requires that applications rejected on that basis be corrected within 30 days. The Rule does so

even though it would lead to the irrational denial of applications for trivial omissions, such as

failing to write “Not Applicable” in describing a child’s non-existent work history.

                Fourth, the Rule adopts an evidentiary double-standard for asylum hearings, under

which evidence from U.S. Government sources is automatically admitted and deemed credible

while other evidence is subject to a heightened standard. The Rule therefore allows Immigration

Judges (“IJs”) to rely on evidence from the Government without assessing its accuracy or

credibility, despite perennial and growing concerns that such evidence reflects political

considerations rather than careful factual analyses.

                Fifth, the Rule authorizes IJs to become advocates rather than adjudicators by

proffering their own evidence, even though the INA does not give them such power.

                Sixth, the Rule doubles-down on an unrealistic 180-day statutory deadline for the

adjudication of asylum claims, which the government has consistently failed to meet. The Rule

requires that asylum claims be adjudicated within 180 days of the filing of an application except

in the absence of “exceptional circumstances,” which the Rule defines in an extraordinarily narrow

way, by applying an inapposite definition from a different part of the INA. The Rule also provides

that IJs may not continue or adjourn hearings beyond 180 days if that definition of “exceptional

circumstances” is not met. The Rule makes these changes without assessing whether or how IJs

will be able to fairly adjudicate asylum claims within 180 days.

                In practice, these changes will often make it impossible for asylum-seekers with

meritorious claims to apply for and obtain asylum. For example, NIJC represents Alicia, 1 a Central

American survivor of severe gender violence, and her four-year-old daughter. Alicia and her


       1
           This is a pseudonym.

                                                 4
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 5 of 75




daughter live in Indiana and have limited access to transportation or social services. Alicia and

her daughter initially fled to the United States in November of 2019, but they were returned to

Mexico under the Migrant Protection Protocols (“MPP”), where they were kidnapped, presumably

by a cartel. Because of the kidnapping, Alicia missed her first master calendar hearing in February

2020. Though she was eventually paroled into the United States and scheduled for another hearing,

she did not make her way to NIJC until January 2021, far more than 15-days had passed from her

original hearing. If the Rule had been in place at the time Alicia and her daughter began their

asylum process, they would have missed the 15-day application deadline and forfeited their right

to seek asylum, withholding of removal, and CAT protection.

               EOIR made these fundamental changes to the asylum process in a Rule that was

issued without statutory authority, and that was signed by an official, Defendant McHenry, who

lacks statutory or regulatory authority to issue regulations of this sort. EOIR issued the Rule after

a curtailed, 30-day notice-and-comment period. And it failed meaningfully to address the feedback

it received in public comments, which overwhelmingly opposed the Rule. Moreover, EOIR

promulgated the Rule in the context of a tangled web of other contemporaneous, interrelated, and

interlocking rulemakings—which are themselves being challenged in court—and other litigation

concerning asylum procedures, which even EOIR admits means that “the interplay and impact of

all of the rules is speculative at the present time.” 85 Fed. Reg. 81,702.

               EOIR sought to justify the Rule as an effort to “to increase overall efficiencies for

the processing and adjudication of asylum applications.” 85 Fed. Reg. 81,706. But it overlooked

or unjustifiably downplayed the numerous, often insurmountable barriers that the Rule creates for

applicants with valid asylum, withholding of removal, and CAT claims—migrants who are entitled




                                                 5
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 6 of 75




to legal protection under both domestic and international law. In fact, the Rule creates more

efficiency problems than it solves.

               The Rule is unlawful and unconstitutional. If it is allowed to take effect, it will

inflict grave, immediate, and irreparable harm to persons seeking refuge in the United States. And

because the arbitrary procedures imposed by the Rule will make the task of providing legal

representation to noncitizens seeking protection in the United States much harder, it will frustrate

the mission of Plaintiffs and other similar service providers. Plaintiffs strive to protect the

fundamental human right to seek refuge from persecution and to protect the due process rights of

immigrants by providing legal representation to as many noncitizens as possible. The Rule makes

both of those tasks monumentally more difficult.

                                 JURISDICTION AND VENUE

               This Court has subject matter jurisdiction under 28 U.S.C. § 1331. This action

arises under the laws of the United States, including the Administrative Procedure Act (“APA”),

5 U.S.C. § 701 et seq. The publication of the final Rule in the Federal Register on December 16,

2020, constitutes final agency action within the meaning of 5 U.S.C. § 704.

               Venue is proper in this district under 28 U.S.C. § 1391(e) because Defendants are

agencies and officers of the United States, the action does not involve real property, and

Defendants reside in this district.

                                         THE PARTIES

               Plaintiffs are legal service organizations that serve immigrants around the country.

               Plaintiff National Immigrant Justice Center is (“NIJC”) is a program of Heartland

Alliance, a nonprofit organization with its headquarters in Chicago, Illinois. NIJC provides

comprehensive legal services to noncitizens around the country. NIJC maintains offices in San

Diego, California; Washington, D.C.; and Goshen and Indianapolis, Indiana. NIJC’s mission is to

                                                 6
               Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 7 of 75




establish and defend the legal rights of immigrants, regardless of background, and to transform the

immigration system to one that affords equal opportunity for all. To advance that mission, NIJC

provides high quality immigration legal services for as many low-income individuals and families

as possible.      NIJC’s key priority areas are: (a) ensuring access to counsel in immigration

proceedings, which includes providing legal counsel and advocating for a guaranteed right to

counsel; (b) defending, maintaining, and expanding access to asylum and other forms of

immigration relief; and (c) decriminalizing immigration and reducing the detention of noncitizens.

In 2020, NIJC provided consultations or legal information to more than 12,000 noncitizens and

represented more than 5,000 clients in immigration-related cases.

                  Plaintiff Immigrant Defenders Law Center (“ImmDef”) is a nonprofit organization

incorporated in California that serves immigrants and refugees throughout Southern California.

ImmDef is based in Los Angeles with additional offices in Riverside, San Diego, and Santa Ana,

California. ImmDef’s mission is to provide universal representation in immigration proceedings,

ensuring that no immigrant faces removal proceedings without an attorney or accredited

representative.     To achieve its mission, ImmDef manages several programs, including: the

Children’s Representation Program; the National Qualified Representative Program; the Family

Unity Project; Local Funding Initiatives; and the Cross-Border Initiative. The Cross-Border

Initiative was established in response to the MPP and provides direct representation, pro se

assistance, Know Your Rights presentations, and other support to individuals subject to MPP with

cases pending in the San Diego immigration court.

               Plaintiff Florence Immigrant and Refugee Rights Project (“Florence Project”) is a

nonprofit organization headquartered in Tucson, Arizona, with additional offices in Phoenix and

Florence, Arizona. The Florence Project provides free legal and social services to adults and



                                                 7
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 8 of 75




unaccompanied children in immigration custody in Arizona, including at the U.S.-Mexico border.

The vision of the Florence Project is to ensure that all noncitizens facing removal have access to

counsel, understand their rights under the law, and are treated fairly and humanely. The Florence

Project provides direct representation to immigrants in proceedings before both immigration courts

and the Board of Immigration Appeals (“BIA”). It represents non-citizens detained in Arizona,

including immigrants deemed incompetent to represent themselves due to mental health needs or

disabilities. In addition, the Florence Project provides “Know Your Rights” trainings and other

forms of pro se assistance to immigrants detained in Arizona. The Florence Project also creates

and distributes written training materials, which are used by other organizations and individuals

nationwide. In 2019, the Florence Project served over 10,000 detained adults and children; placed

over 100 cases with pro bono attorneys; and provided over 500 noncitizens with social services.

               Plaintiff Las Americas Immigrant Advocacy Center (“Las Americas”) is a

nonprofit organization incorporated in Texas and based in El Paso, Texas, that serves immigrants

and refugees in Ciudad Juarez, Mexico, West Texas, and New Mexico. The mission of Las

Americas is to provide free and low-cost legal services to low-income immigrants, including

refugees and asylum-seekers, families seeking reunification, and victims of crime. To achieve its

mission, Las Americas manages several programs including a Detained Program that serves

detained migrants in the El Paso Processing Center, Otero Service Center, and West Texas

Detention Center; the Las Americas Mexico program representing clients who are awaiting their

immigration court proceedings in Mexico pursuant to the Migrant Protection Protocols; and the

Community Migrant Advocacy Program that represents clients including survivors of crime and

provides pro se assistance in immigration court proceedings and in affirmative petitions to U.S.

Citizenship and Immigration Services (“USCIS”) through legal intake, consultations, and the



                                                8
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 9 of 75




petitioning process to obtain deferred action and lawful status, work permits, and/or lawful

permanent residency. Las Americas employs attorneys, accredited representatives, coordinators,

and paralegals, among others, to implement its programs and achieve its mission..

               Defendant EOIR is an office within DOJ that is responsible for managing removal

proceedings, including the acceptance and adjudication of defensive applications for asylum,

withholding of removal, and deferral under the CAT. EOIR issued the Rule via its Director,

Defendant James R. McHenry III.

               Defendant James R. McHenry III has been the Director of EOIR since January 2018.

Defendant McHenry signed and purported to issue the Rule. He is sued in his official capacity.

               Defendant DOJ is a cabinet agency of the United States Government. DOJ is the

agency that proposed and issued the Rule, via EOIR.

               Defendant Jeffrey A. Rosen is the Deputy Attorney General of the United States.

He became the Acting Attorney General of the United States on December 24, 2020. Defendant

Rosen heads DOJ. He is sued in his official capacity.

                                  FACTUAL ALLEGATIONS

I.     ASYLUM, WITHHOLDING OF REMOVAL, AND CAT PROTECTION

               The United States has long had a policy of welcoming refugees fleeing persecution

or violence in their home countries. When Congress established the modern asylum system in

1980 with the Refugee Act of 1980, it declared that “it is the historic policy of the United States

to respond to the urgent needs of persons subject to persecution in their homelands, including,

where appropriate, humanitarian assistance for their care and maintenance in asylum areas, efforts

to promote opportunities for resettlement or voluntary repatriation, aid for necessary transportation

and processing, admission to this country of refugees of special humanitarian concern to the United



                                                 9
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 10 of 75




States, and transitional assistance to refugees in the United States.” Pub. L. No. 96–212, 94 Stat.

102.

               International law also requires the United States to accept refugees. The 1967

United Nations Protocol Relating to the Status of Refugees (“1967 Protocol”) requires contracting

states to “accord to refugees lawfully staying in their territory the most favourable treatment

accorded to nationals of a foreign country in the same circumstances, as regards the right to engage

in wage-earning employment.” United Nations Protocol Relating to the Status of Refugees, 19

U.S.T. 6223, TIAS No. 6577, 606 U.N.T.S. 267 (1967). The United States ratified the Protocol

on November 1, 1968.

               In 1998, the United States assented to the Convention Against Torture, prohibiting

noncitizens’ deportation to counties where there are substantial grounds for believing that they

would face torture. See Foreign Affairs Reform and Restructuring Act of 1998 (“FARRA”), Pub.

L. No. 105-277, div. G, Title XXII, § 2242, 112 Stat. 2681, 2681-822 (1998). CAT protection is

codified as a note to 8 U.S.C. § 1231. See also 8 C.F.R. §§ 1208.16-1208.18.

               Under the INA, “[a]ny alien who is physically present in the United States or who

arrives in the United States (whether or not at a designated port of arrival and including an alien

who is brought to the United States after having been interdicted in international or United States

waters), irrespective of such alien’s status” has the right to apply for asylum. 8 U.S.C. § 1158(a)(1).

               To succeed on an asylum claim, an applicant must meet the definition of a

“refugee”—a person who has experienced persecution or who has a “well–founded fear of

persecution on account of race, religion, nationality, membership in a particular social group, or

political opinion.” Id. §§ 1101(a)(42)(A), 1158(b)(1)(A). Where that definition is met, a grant of

asylum is discretionary. Id. § 1158(b)(1)(A).



                                                 10
              Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 11 of 75




                Noncitizens who are not in removal proceedings may apply for asylum before

USCIS, an agency within the Department of Homeland Security (“DHS”). Unaccompanied

minors in removal proceedings also initially proceed before USCIS. Adult noncitizens facing

removal proceedings in immigration court, which is part of EOIR, may seek asylum as a defense

to removal.

                Noncitizens facing removal may also apply to EOIR for withholding of removal

and protection under CAT. To obtain withholding of removal, a noncitizen must show that it is

more likely than not he would be persecuted “because of” a protected ground if he were returned

to a particular country—a higher standard than asylum.           8 U.S.C. § 1231(b)(3); 8 C.F.R.

§ 208.16(b). Similarly, to obtain protection under CAT, a noncitizen must show that it is more

likely than not that he would be tortured if he were returned to a particular country. 8 C.F.R.

§ 208.16(c)(2).

                Unlike asylum, which is discretionary, withholding of removal and CAT protection

are mandatory forms of relief which noncitizens are entitled by law to receive when the

requirements for them are met. See 8 U.S.C. § 1231(b)(3)(A) (providing that “the Attorney

General may not remove an alien to a country if the Attorney General decides that the alien’s life

or freedom would be threatened in that country because of” membership in a protected group

(emphasis added)); INS v. Stevic, 467 U.S. 407, 422 & n. 15 (1984) (addressing the mandatory

nature of withholding of removal).

II.    THE TRUMP ADMINISTRATION’S LIMITATIONS ON ASYLUM

                The Rule is part of a larger, self-declared objective of the Trump administration to

limit the availability of asylum and to deter future migrants.

                In 2018 and 2019, the Attorney General upended established law by reversing

several BIA decisions. Specifically, the Attorney General issued Matter of A-B-, 27 I. & N. Dec.
                                                 11
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 12 of 75




316 (A.G. 2018), and Matter of L-E-A-, 27 I. & N. Dec. 581 (A.G. 2019), which overturned BIA

decisions in those cases. The Attorney General’s rulings in Matter of A-B- and Matter of L-E-A-

have made it significantly more difficult for individuals from Central America to obtain asylum.

               In November 2018, the President issued a proclamation and interim final rule

banning individuals who enter the United States between ports of entry from obtaining asylum.

See Aliens Subject to a Bar on Entry Under Certain Presidential Proclamations; Procedures for

Protection Claims, 83 Fed. Reg. 55,934 (Nov. 9, 2018); E. Bay Sanctuary Covenant v. Trump, 950

F. 3d 1242 (9th Cir. 2020) (affirming injunction of policy); OA v. Trump, 404 F. Supp. 3d 109

(D.D.C. 2019) (vacating rule under the APA), appeal docketed, No. 19-5272 (D.C. Cir.).

               Since January 2019, the government’s adoption of the MPP program has required

more than 60,000 individuals seeking asylum to remain in life-threatening conditions in Mexico

while their asylum claims are adjudicated, instead of being released into the United States in

relative safety as was past practice. See, e.g., Kirstjen M. Nielsen, DHS, Policy Guidance for

Implementation of the Migrant Protection Protocols (Jan. 25, 2019), https://www.dhs.gov/sites/

default/files/publications/19_0129_OPA_migrant-protection-protocols-policy-guidance.pdf. As a

result, many individuals are being forced to wait for months in dangerous tent camps in Mexican

border towns to await their immigration hearings. The program has made it impossible for many

asylum-seekers to obtain access to counsel and has led to an extraordinarily high rejection rate for

asylum claims.       See Amnesty International USA Comment at 6 (Oct. 23, 2020),

https://www.regulations.gov/document?D=EOIR-2020-0005-1611; National Immigrant Justice

Center Comment at 17-18 (Oct. 23, 2020), https://www.regulations.gov/document?D=EOIR-

2020-0005-1677; Details on MPP (Remain in Mexico) Deportation Proceedings, TRAC

Immigration, https://trac.syr.edu/phptools/immigration/mpp/ (last visited Jan. 8, 2021) (Noting



                                                12
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 13 of 75




that 32,678 noncitizens in MPP were subject to a removal order, and only 615 noncitizens in MPP

were granted relief).

               In July 2019, the administration issued another interim final rule to disqualify from

asylum eligibility any individual who transits through a third country before arriving at the United

States’ southern border, effectively preventing all non-Mexican asylum-seekers who arrive at the

border from seeking asylum. See Asylum Eligibility and Procedural Modifications, 84 Fed. Reg.

33,829 (July 16, 2019). This policy was preliminarily enjoined as arbitrary and capricious, see E.

Bay Sanctuary Covenant, 964 F.3d at 848, and vacated due to the agencies’ failure to subject it to

notice and comment rulemaking, see Capital Area Immigrants’ Rights Coal. v. Trump, Nos. 19-

2117, 19-2530 (TJK), 2020 WL 3542481, at *58 (D.D.C. June 30, 2020), but the agencies have

since sought to reimpose it, see Asylum Eligibility and Procedural Modifications, 85 Fed. Reg.

82,260 (Dec. 17, 2020).

               In November 2019, DOJ and DHS issued another interim final rule, which requires

asylum-seekers to be removed to third countries for them to seek protection in those third countries.

See Implementing Bilateral and Multilateral Asylum Cooperative Agreements Under the

Immigration and Nationality Act, 84 Fed. Reg. 63,994 (Nov. 19, 2019); see U.T v. Barr, No. 1:20-

cv-00116 (D.D.C. filed Jan. 15, 2020). The countries to which asylum-seekers must be removed

under this policy include Guatemala, El Salvador, and Honduras—three of the countries from

which the greatest numbers of refugees and asylum-seekers have fled in recent years.

               Finally, in December 2020 alone, in addition to the Rule, DHS and DOJ issued five

other immigration related rules, all of which impact access to asylum, withholding of removal, and

CAT protection. See Procedures for Asylum and Withholding of Removal; Credible Fear and

Reasonable Fear Review, 85 Fed. Reg. 80,274 (Dec. 11, 2020) (“the “December 11 Rule”);



                                                 13
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 14 of 75




Appellate Procedures and Decisional Finality in Immigration Proceedings; Administrative Closure,

85 Fed. Reg. 81,588 (Dec. 16, 2020); Procedures for Asylum and Withholding of Removal, 85

Fed. Reg. 81,698 (Dec. 16, 2020); Executive Office for Immigration Review; Fee Review, 85 Fed.

Reg. 82,750 (Dec. 18, 2020); Security Bars and Processing, 85 Fed. Reg. 84,160 (Dec. 23, 2020).

               These policy changes and others—many of which have been challenged or are

being challenged in court—are part of a systematic attempt, acknowledged by the current

administration, to make it more difficult for migrants to apply for asylum, and to deter future

asylum-seekers from attempting to make the journey in the first place.

III.   THE CHALLENGED RULE

               EOIR proposed the Rule in a Notice of Proposed Rulemaking (“NPRM”) published

on September 23, 2020. See Procedures for Asylum and Withholding of Removal, 85 Fed. Reg.

59,692 (proposed Sept. 23, 2020). EOIR restricted the comment period to 30 days, and received

a total of 2,016 comments. See EOIR, Procedures for Asylum and Withholding of Removal,

https://www.regulations.gov/docket?D=EOIR-2020-0005. EOIR then published the final Rule on

December 16, 2020.

               The Rule makes six changes to the asylum system, each of which is challenged

here. First, the Rule imposes an arbitrary, 15-day filing deadline for noncitizens in asylum and

withholding-only proceedings to file an application for asylum, withholding of removal, and CAT

protection, with attached corroborating evidence.       Second, the Rule requires that asylum

applications be rejected if they are not accompanied by proof of payment of an application fee.

Third, the Rule provides that EOIR must reject applications at any time if the answer to even a

single, plainly inapplicable question is left blank. Fourth, the Rule adopts an evidentiary double-

standard for asylum hearings, under which evidence from U.S. Government sources is

automatically admitted and deemed relevant and probative, while other evidence is subject to a
                                                14
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 15 of 75




heightened standard. Fifth, the Rule authorizes IJs to become advocates rather than adjudicators

by proffering their own evidence. Sixth, the Rule doubles-down on an already unrealistic 180-day

statutory deadline for the adjudication of asylum claims, which the government has consistently

failed to meet, by adopting an inapposite, overly narrow definition of “exceptional circumstances”

that will almost never authorize IJs to continue asylum hearings beyond that 180-day period. 2

       A.      The 15-Day Filing Deadline

               Congress itself established a deadline for submitting asylum applications in the

INA, which provides that noncitizens “may apply for asylum” so long as “the application [is] filed

within 1 year after the date of the [noncitizen’s] arrival in the United States.”       8 U.S.C.

§ 1158(a)(2)(B).   Congress established no deadline at all for submitting applications for

withholding of removal or protection under the CAT, which are also sought through the submission

of an asylum application. See id. § 1231(b)(3).

               The Rule purports to impose a much shorter, 15-day application deadline applicable

to noncitizens in two categories of proceedings: “asylum-and-withholding only” proceedings and

“withholding only” proceedings. See 85 Fed Reg. 81,751 (to be codified at 8 C.F.R. § 1208.4(d)).

               The Rule’s 15-day deadline applies to applications for asylum, for withholding of

removal and CAT protection that are submitted as part of those proceedings. Withholding of

removal and CAT protection are mandatory forms of relief. By applying the 15-day application

deadline to applicants for mandatory withholding of removal and CAT protection, the Rule will

lead to the denial of forms of protection that Congress required the government to provide.


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          The Rule also deletes certain inapplicable regulations related to employment
authorization, which EOIR does not administer. See 85 Fed. Reg. 81,750–51 (deleting 8 C.F.R.
§§ 1208.7 and 1208.9). Plaintiffs do not challenge the substance of those deletions, although they
also must be set aside due to Defendant McHenry’s lack of authority to issue the Rule and due to
Defendants’ violations of the APA’s procedural requirements. See infra Parts IV and V.

                                                  15
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 16 of 75




               Under present law, “asylum-and-withholding only” proceedings are limited to

those involving asylum claims by “alien crewmember[s],” “alien stowaway[s],” beneficiaries of

the Visa Waiver Program, and certain noncitizens excluded from the United States on security

grounds or with information relevant to criminal or terrorist investigations.      See 8 C.F.R.

§ 1208.2(c)(1). In “asylum-and-withholding only” proceedings, only asylum, withholding of

removal, and CAT protection—and not admissibility or removability—are at issue. See id.

               As explained below, infra ¶¶ 56–58, a recent, separate rulemaking, if allowed to

take effect, will expand “asylum-and-withholding only” proceedings. Under that expansion, many

more noncitizens will be subject to the Rule’s new 15-day deadline for filing an asylum claim,

because all noncitizens who assert asylum claims in expedited removal proceedings will be

channeled to “asylum-and-withholding only” proceedings for the first time.

               “Withholding only” proceedings are those involving withholding of removal and

CAT claims by noncitizens who are subject to reinstated removal orders or noncitizens who have

been issued administrative removal orders due to the time and place of their apprehension or a

conviction for an aggravated felony.      See 8 C.F.R. § 1208.2(c)(2).   In “withholding only”

proceedings, only withholding of removal and CAT protection—and not asylum, admissibility, or

removability—are at issue. See id.

               The Rule contravenes the current statutory one-year deadline for filing asylum

applications, and Congress’ decision not to impose any deadline for withholding of removal or

CAT protection, by instead requiring noncitizens in “asylum-and-withholding only” and

“withholding only” proceedings to apply for asylum, withholding of removal, and CAT protection

within 15 days after their first hearing before an immigration judge.

               Specifically, the Rule provides that in “asylum-and-withholding only” proceedings,



                                                16
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 17 of 75




       the immigration judge . . . shall set a deadline of fifteen days from the date of the
       alien’s first hearing before an immigration judge by which the alien must file an
       asylum application, which includes an application for withholding of removal
       under section 241(b)(3) of the Act and protection under §§ 1208.16 through
       1208.18.

85 Fed. Reg. 81,751.

               A similar provision governs “withholding only” proceedings:

       the immigration judge . . . shall set a deadline of fifteen days from the date of the
       alien’s first hearing before an immigration judge by which the alien must file an
       application for withholding of removal under section 241(b)(3) of the Act, which
       includes an application for protection under §§ 1208.16 through 1208.18.

Id.

               Because the “mailbox rule” does not apply in immigration court proceedings, the

15-day deadline will require that the application be received by the immigration court within 15

days. See Office of the Chief Immigration Judge, Immigration Court Practice Manual § 3.1(a)(iii)

(Dec. 31, 2020), https://www.justice.gov/eoir/page/file/1343626/download.

               If the 15-day deadline is not met, “the immigration judge shall deem the opportunity

to file such an application waived, and the case shall be returned to the Department of Homeland

Security” for the noncitizen’s removal. 85 Fed Reg. 81,751.

               Thus, the failure to meet the 15-day deadline by just one day, even if due to postal

delay or other circumstances outside of the noncitizen’s control, will result in a complete loss of

the opportunity to apply for asylum, withholding of removal, and CAT protection. The result will

be removal to a country from which the noncitizen fled for fear of persecution or torture.

               The public was provided no opportunity to comment on this portion of the Rule

because there were substantial changes made between the text of the proposed rule published in

the Notice of Proposed Rulemaking and the final Rule.




                                                17
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 18 of 75




               First, when the NPRM was published, “asylum-and-withholding only” proceedings

were limited to claims by a small number of noncitizens: principally noncitizen crewmembers,

stowaways, and beneficiaries of the Visa Waiver Program. See 8 C.F.R. § 1208.2(c)(1) (2020).

In Fiscal Year 2018, there were more than 150,000 asylum applications, but just 726 “asylum-and-

withholding only” proceedings, which were then known as “asylum only” proceedings. See DOJ,

Statistics Yearbook FY 2018, fig. 18 & tbl.4, https://www.justice.gov/eoir/file/1198896/download.

               As mentioned above, supra ¶ 46, between the publication of the NPRM and the

publication of the final Rule, EOIR published the December 11 Rule, which dramatically expands

the number of cases that will be funneled through “asylum-and-withholding only” proceedings.

See December 11 Rule, 85 Fed. Reg. 80,274. Under the December 11 Rule, all noncitizens who

express a credible fear of persecution during “expedited removal” proceedings under 8 U.S.C.

§ 1225(b)(1) will be sent to “asylum-and-withholding only” proceedings. 85 Fed. Reg. 80,399–

400. And “expedited removal” proceedings have themselves been expanded to include all

noncitizens who have been in the United States for less than two years. See Designating Aliens

for Expedited Removal, 84 Fed. Reg. 35,409 (July 23, 2019).

               As a result of the December 11 Rule, the portion of asylum applicants who are

subject to the Rule’s new 15-day application deadline changed from almost none when EOIR

issued the proposed rule to almost all when it promulgated the final Rule.

               Because the final December 11 Rule was not published until after the comment

period for the Rule closed, commenters had no opportunity to address how the final text of the

December 11 Rule interacts with the Rule’s 15-day deadline.

               Second, the proposed rule would not have subjected noncitizens in “withholding

only” proceedings to the proposed 15-day deadline. Instead, the proposed rule subjected only



                                               18
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 19 of 75




“asylum-and-withholding only” proceedings to the 15-day deadline. 85 Fed. Reg. 59,693. In the

final Rule, however, EOIR announced that it would apply the 15-day deadline to “withholding

only” proceedings as well. 85 Fed Reg. 81,751.

                 In Fiscal Year 2018, there were 3,236 noncitizens in withholding-only proceedings.

DOJ, Statistics Yearbook FY 2018, tbl.4, https://www.justice.gov/eoir/file/1198896/download.

                 By also subjecting “withholding only” proceedings to the 15-day deadline in the

final Rule, EOIR added additional categories of proceedings to those governed by the 15-day

deadline and significantly expanded the scope of proceedings governed by the 15-day deadline.

                 The NPRM did not state that EOIR was considering subjecting proceedings other

than “asylum-and-withholding only” proceedings to the proposed 15-day deadline for “asylum-

and-withholding only” proceedings.

                 One commenter out of more than 2,000 suggested that the 15-day deadline could

be applied beyond “asylum-and-withholding only proceedings” to “withholding only” proceedings,

and urged EOIR to expand the 15-day deadline to cover “withholding only” proceedings. See

Center     for    Immigration       Studies   Comment    at   2–3,    https://www.regulations.gov/

document?D=EOIR-2020-0005-0488 (Oct. 1, 2020). While a few other commenters mentioned

“withholding only” proceedings in passing, no other commenter addressed the issue in any depth.

                 EOIR admits that even today, the ultimate scope of the 15-day deadline remains

unknowable, because “the interplay and impact of all of the rules is speculative at the present time,

particularly due to ongoing and expected future litigation, which may allow all, some, or none of

the rules to ultimately take effect.” 85 Fed. Reg. 81,702.

                 EOIR states that

         the size of [the asylum-and-withholding only] category is both grossly
         speculative—because the number would depend on variables that cannot be

                                                 19
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 20 of 75




       accurately predicted such as new inflows of illegal immigration, the validity of any
       claims made by aliens in those inflows subject to the credible fear screening process,
       and DHS’s exercise of prosecutorial discretion—and wholly outside the
       Department’s control.

Id.

               Even if the precise number of noncitizens who will be subjected to the 15-day

deadline depends on unknowable variables, between EOIR’s changes in the final rule and the

issuance of a separate regulation after the close of the comment period, the percentage of

noncitizens who are subject to the rule was greatly expanded after the proposed rule was issued

and the comment period closed. This change will have significant effects, including on the ability

of legal services providers to represent noncitizens subject to the 15-day deadline.

       B.      The Proof-of-Payment Requirement

               The United States has never in its history required asylum applicants to pay a fee

to apply for asylum.

               On August 3, 2020, DHS promulgated a final rule establishing a non-waivable $50

application fee. See U.S. Citizenship and Immigration Services Fee Schedule and Changes to

Certain Other Immigration Benefit Request Requirements, 85 Fed. Reg. 46,788 (Aug. 3, 2020)

(the “USCIS Fee Rule”).

               The USCIS Fee Rule would have made the United States the only country in the

world to charge a non-waivable application fee to asylum-seekers, and only one of four to charge

any application fee to asylum-seekers. See Immigrant Legal Res. Ctr. v. Wolf, No. 20-cv-05883,

2020 WL 5798269, at *2 & n.5 (N.D. Cal. Sept. 29, 2020).

               The USCIS Fee Rule was immediately challenged on multiple grounds, and its

effective date has been stayed in full. See id. at *19; Nw. Immigrant Rights Project v. USCIS, No.

19-3283, 2020 WL 5995206, at *33 (D.D.C. Oct. 8, 2020).


                                                20
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 21 of 75




               The new Rule provides for the first time that applicants must pay any required

asylum application fee before applying for asylum, because they must provide proof of payment

simultaneously with their asylum application. See 85 Fed. Reg. 81,750–51 (to be codified at 8

C.F.R. §§ 1003.24(c)(1), 1003.31(b), 1103.7(a)(3), 1208.3(c)(3), 1208.4(d)(2)).

               In the event that DHS’s rule imposing a non-waivable asylum application fee takes

effect, the Rule will therefore require that applicants pay that fee even before they apply for asylum,

and provide proof of payment with their application, on pain of having their asylum applications

rejected without review. See id.

       C.      The Requirement that “Incomplete” Applications Be Rejected at Any Time

               Under existing regulations, if EOIR intends to reject an asylum application as

incomplete, it must do so within 30 days after receiving it. See 8 C.F.R. § 1208.3(c)(3). If EOIR

does not provide a rejection notice within 30 days, the application will be “deemed complete.” Id.

And if EOIR does reject an application as incomplete, the applicant is entitled to cure any

deficiencies and resubmit the application, with no deadline for doing so aside from the generally

applicable one-year deadline. Id.; see also 8 U.S.C. § 1158(a)(2)(B).

               The Rule amends these existing regulations to eliminate EOIR’s 30-day deadline

for rejecting an application as incomplete, and replaces it with a requirement that EOIR reject

incomplete applications at any time.       85 Fed. Reg. 81,750–51 (to be codified at 8 C.F.R.

§ 1208.3(c)(3)). The Rule also provides that a noncitizen whose application is rejected as

incomplete must refile it “within 30 days of rejection,” or the application will be deemed

“abandoned” and “waived.” Id.

               The Rule further provides that “an asylum application is incomplete if it does not

include a response to each of the required questions contained in the form, is unsigned, is

unaccompanied by the required materials specified in paragraph (a) of this section [including
                                                 21
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 22 of 75




supporting evidence], [or] is not completed and submitted in accordance with the form

instructions . . . .” Id. at 81,750–51.

                As a result of these changes, IJs will be required to reject asylum and withholding

of removal claims if they discover at any time—even at a final asylum hearing—that a noncitizen’s

application did not contain an answer to a single question—and even if the question was plainly

inapplicable. Noncitizens therefore will face the possible rejection of their applications on

technical grounds at all points in the process, and will not know until their claims are finally

adjudicated whether EOIR will reject their applications as incomplete.

                USCIS is already denying applications based on blank answers to inapplicable

questions under a similar rule.           See Ombudsman Alert: Recent Updates to USCIS Form

Instructions, DHS (Jan. 23, 2020), https://www.dhs.gov/blog/2020/01/23/ombudsman-alert-

recent-updates-uscis-form-instructions. This USCIS policy has been challenged, see Vangala v.

USCIS, No. 20-cv-08143 (N.D. Cal. filed Nov. 19, 2020), and USCIS has agreed in that litigation

to revisit its policy. This Rule would impose the same harms challenged in that litigation, as

applied to applications filed with EOIR.

        D.      The Evidentiary Double-Standard for Non-Governmental Evidence

                The Rule adopts a new standard for evidence offered in support of an asylum or

withholding of removal application. 85 Fed. Reg. 81,751 (to be codified at 8 C.F.R. § 1208.12(a)).

                Under existing law:

        In deciding an asylum application, or in deciding whether the alien has a credible
        fear of persecution or torture . . . , or a reasonable fear of persecution or torture . . . ,
        the asylum officer may rely on material provided by the Department of State, the
        Office of International Affairs, other Service offices, or other credible sources, such
        as international organizations, private voluntary agencies, news organizations, or
        academic institutions.

8 C.F.R. § 1208.12(a).


                                                     22
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 23 of 75




                The Rule amends this provision to state:

         [A]n immigration judge may rely on material provided by the Department of State,
         other Department of Justice offices, the Department of Homeland Security, or other
         U.S. Government agencies, and may rely on foreign government and
         nongovernmental sources if those sources are determined by the judge to be
         credible and the material is probative.

85 Fed. Reg. 81,751 (to be codified at 8 C.F.R. § 1208.12(a)).

                The Rule therefore entitles IJs to rely on U.S. Government evidence without

assessing whether it is credible, while simultaneously erecting barriers to reliance on other sources

of evidence, including evidence that contradicts U.S. Government evidence.

                Commenters stated that this change is contrary to the “perennial concern” that State

Department country-conditions reports will reflect the State Department’s policy agenda, rather

than actual conditions on the ground. See National Immigrant Justice Center Comment, supra, at

21; Human Rights First Comment at 8–9 (Oct. 23, 2020), https://regulations.gov/

document?D=EOIR-2020-0005-1668; see also, e.g., Gailius v. INS, 147 F.3d 34, 46 (1st Cir.

1998).

                Commenters also pointed to a recent whistleblower report by a DHS employee that

accused senior DHS officials of politicizing intelligence reports by asking him to change “the

information outlining high levels of corruption, violence, and poor economic conditions” in

Guatemala, Honduras, and El Salvador because it would “undermine President Donald J. Trump’s

. . . policy objectives with respect to asylum.” DHS Office of Inspector General, Whistleblower

Reprisal Complaint, In the Matter of Brian Murphy. (Sept. 8, 2020), https://intelligence.house.gov/

uploadedfiles/murphy_wb_dhs_oig_complaint9.8.20.pdf; see Make the Road New Jersey

Comment at 8–9 (Oct. 23, 2020), https://www.regulations.gov/document?D=EOIR-2020-0005-

1632.



                                                 23
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 24 of 75




               Because of these concerns with U.S. Government reports, asylum-seekers must

often rely on other sources of evidence to demonstrate real dangers of persecution that are not

addressed in U.S. Government reports. Even outside any allegations of bias, sources such as

reports from international NGOs or local journalists are more likely to delve into specific issues

or events that are relevant in particular asylum case.

               The Rule would allow IJs to rely on evidence from U.S. Government sources as a

basis for denying an asylum claim without considering whether that evidence is credible or

otherwise supported, while making it more difficult for asylum-seekers to offer evidence from

other sources to demonstrate the gaps, inaccuracies, and omissions in government evidence.

       E.      The Authorization for IJs to Admit Their Own Evidence

               The INA provides that IJs “shall administer oaths, receive evidence, and

interrogate, examine, and cross-examine the alien and any witnesses.” 8 U.S.C. § 1229a(b)(1). It

does not authorize IJs to admit their own evidence.

               In contrast, the prior version of the statute did authorize IJs’ predecessors to admit

evidence, providing that they “shall administer oaths, present and receive evidence, interrogate,

examine, and cross-examine the alien or witnesses.” 8 U.S.C. § 1252(b) (1994) (emphasis added).

               Congress deleted the statutory language “present” when it enacted the present

statute in 1996, precluding IJs from admitting their own evidence.

               The Rule nevertheless would authorize IJs to add their own evidence to the record,

providing that “[o]n his or her own authority, an immigration judge may submit relevant evidence

into the record, if the source is credible and the evidence is probative, and may consider it in

deciding an asylum application,” including an application for withholding of removal. 85 Fed.

Reg. 81,751 (to be codified at 8 C.F.R. § 1208.12(a)).



                                                 24
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 25 of 75




                The Rule will therefore allow IJs to serve as both advocates and adjudicators,

provided only that the parties first “have had an opportunity to comment on or object to the

evidence prior to the issuance of the immigration judge’s decision.” Id.

        F.      The 180-Day Case Completion Deadline

                The INA has provided since 1996 that “in the absence of exceptional circumstances,

final administrative adjudication of the asylum application, not including administrative appeal,

shall be completed within 180 days after the date an application is filed.”               8 U.S.C.

§ 1158(d)(5)(A)(iii). The Rule incorporates this statutory 180-day deadline into the regulations

for the first time.

                Currently, IJs can grant continuances and adjournments “for good cause shown,”

with no restriction based on the 180-day goal. See 8 C.F.R. §§ 1003.29, 1240.6.

                Until now, the primary circumstance that has justified delayed asylum applications

is the overall backlog of cases pending before EOIR and the asylum office and the need to

adjudicate them in an orderly fashion given the limited adjudication resources allocated.

                The Rule, however, adopts a much narrower definition of the “exceptional

circumstances” that can excuse compliance, and one that is entirely inapposite to the context of

the 180-day deadline. Under the Rule:

        [T]he term exceptional circumstances refers to exceptional circumstances (such as
        battery or extreme cruelty to the alien or any child or parent of the alien, serious
        illness of the party or immigration judge, or serious illness or death of the spouse,
        child, or parent of the alien, but not including less compelling circumstances)
        beyond the control of the parties or the immigration court.

85 Fed. Reg. 81,750 (to be codified at 8 C.F.R. § 1003.10(b)).

                The Rule’s definition of exceptional circumstances is taken almost verbatim from

the INA’s definition of what circumstances will excuse a noncitizen’s failure to appear for an



                                                 25
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 26 of 75




immigration court hearing. See 8 U.S.C. § 1229a(e)(1). The INA does not contain a similar

definition of “exceptional circumstances” that applies to the 180-day deadline.

               The Rule also restricts IJs’ discretion to grant continuances or adjournments that

will result in the adjudication of an asylum claim extending longer than 180 days. See 85 Fed.

Reg. 81,750–51 (to be codified at 8 C.F.R. §§ 1003.29, 1240.6).

               Under the Rule, continuances or adjournments that will extend adjudication beyond

180 days can be granted only on a showing of exceptional circumstances, as defined above. See

85 Fed. Reg. 81,750–51 (to be codified at 8 C.F.R. §§ 1003.29, 1240.6).

               There is no evidence that the government has ever managed to adjudicate most

asylum claims within 180 days.

               Immigration cases before EOIR of all kinds took an average of 184 days to

adjudicate in 1998, which steadily increased to an average of 533 days by 2019, according to

Syracuse University’s nonprofit data research center “TRAC.” See Immigration Court Processing

Time by Outcome, TRAC Immigration, https://trac.syr.edu/phptools/immigration/court_backlog/

court_proctime_outcome.php (select “Average Days” under “What to Tabulate”; “All” under

“Outcome Type”; and “Entire US” under “Fiscal Year 2021”).

IV.      THE ENTIRE RULE MUST BE INVALIDATED BECAUSE DEFENDANT
         MCHENRY HAD NO STATUTORY OR REGULATORY AUTHORITY TO
         ISSUE THE RULE

               The INA provides that “[t]he Attorney General shall establish such regulations, . . .

delegate such authority, and perform such other acts as the Attorney General determines to be

necessary for carrying out” his powers and duties under the INA. 8 U.S.C. § 1103(g)(2). And by

statute, EOIR is made “subject to the direction and regulation of the Attorney General.” 6 U.S.C.

§ 521.



                                                26
           Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 27 of 75




              Consistent with these statutory provisions, the Attorney General issued and signed

the final rules promulgating each of the very regulations that the at-issue Rule amends. See

Executive Office for Immigration Review; Definitions; Fees; Powers and Authority of DHS

Officers and Employees in Removal Proceedings, 69 Fed. Reg. 44,903 (July 28, 2004)

(promulgating 8 C.F.R. §§ 1003.8, 1003.24, 1103.7, and signed by Attorney General Ashcroft);

Authorities Delegated to the Director of the Executive Office for Immigration Review, and the

Chief Immigration Judge, 72 Fed. Reg. 53,673 (Sept. 20, 2007) (promulgating 8 C.F.R. § 1003.10

and signed by Attorney General Gonzales); Aliens and Nationality; Rules of Procedure for

Proceedings Before Immigration Judges, 52 Fed. Reg. 2931 (Jan. 29, 1987) (adopting what is now

8 C.F.R. § 1003.29 and signed by Attorney General Meese); Executive Office for Immigration

Review; Rules of Procedures, 57 Fed. Reg. 11,568 (Apr. 6, 1992) (promulgating what is now 8

C.F.R. § 1003.31 and signed by Attorney General Barr); Inspection and Expedited Removal of

Aliens; Detention and Removal of Aliens; Conduct of Removal Proceedings; Asylum Procedures,

62 Fed. Reg. 10,312 (Mar. 6, 1997) (promulgating what became 8 C.F.R. §§ 1208.3, 1208.4,

1208.12, and 1240.6 and signed by Attorney General Reno).

              Unlike all of those prior regulations, the final Rule was signed solely by Defendant

McHenry as Director of EOIR, and not by the Attorney General or acting Attorney General.

              The Attorney General has never delegated authority to the Director of EOIR to

engage in notice-and-comment rulemaking.

              The sole published delegation of authority from the Attorney General to the EOIR

Director is 8 C.F.R. § 1003.0(b). That provision allows the EOIR Director to “[i]ssue operational

instructions and policy, including procedural instructions regarding the implementation of new

statutory or regulatory authorities.” Id. § 1003.0(b)(1)(i). It therefore distinguishes between



                                               27
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 28 of 75




“operational instructions,” “policy”, and “procedural instructions,” on the one hand, and “new . . .

regulatory authorities,” on the other, and thus does not allow the EOIR Director to issue regulations.

Id.

                The final Rule does not describe any other source of delegated authority for the

Director of EOIR to issue the Rule, and Plaintiffs are aware of none.

                Because Defendant McHenry was without statutory or delegated authority to issue

the Rule, the issuance of the rule was “in excess of statutory jurisdiction, authority, or limitations,”

5 U.S.C. § 706(2)(C), and “not in accordance with law,” id. § 706(2)(A), and the Rule in its entirety

should be set aside.

V.     THE ENTIRE RULE MUST BE INVALIDATED BECAUSE DEFENDANTS
       ISSUED THE RULE IN VIOLATION OF THE APA’S PROCEDURAL
       REQUIREMENTS

                Under the APA, agencies must provide notice of proposed rules and the proposed

legal bases for those rules, 5 U.S.C. § 552(b)(2), (3), in order to “give interested persons an

opportunity to participate in the rule making through submission of written data, views, or

arguments with or without opportunity for oral presentation,” id. § 553(c).

                To satisfy the APA, notice must afford interested parties “a reasonable opportunity

to participate in the rulemaking process.” Am. Radio Relay League, Inc. v. FCC, 524 F.3d 227,

236 (D.C. Cir. 2008) (internal quotation marks omitted).

                EOIR’s procedure for issuing the Rule failed to comply with the APA’s notice

requirements.

                Because the APA requires the Court to “hold unlawful and set aside agency action

. . . found to be . . . without observance of procedure required by law,” 5 U.S.C. § 706(2)(D), the

entire Rule must be invalidated.



                                                  28
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 29 of 75




       A.      The Comment Period EOIR Provided Was Insufficient

               Executive Order 12,866 provides that comment periods should “in most cases” be

“not less than 60 days.” Exec. Order No. 12,866, 58 Fed. Reg. 51,735 (Oct. 4, 1993); accord Exec.

Order No. 13,563, 76 Fed. Reg. 3821 (Jan. 21, 2011) (comment periods “should generally be at

least 60 days”).

               According to the eRulemaking Management Office, which provides access to and

collects comments on proposed regulations, “[g]enerally, agencies will allow 60 days for public

comment. Sometimes they provide much longer periods.” Regulatory Timeline, Regulations.gov,

https://www.regulations.gov/docs/FactSheet_Regulatory_Timeline.pdf (last visited Jan. 8, 2020).

               EOIR issued the rule on an expedited timeframe, providing only 30 days for

comments.

               Many commenters and potential commenters objected to the Department’s

imposition of a 30-day comment period instead of a 60-day or longer period and requested an

extension of the 30-day comment period. See 85 Fed. Reg. 81,704.

               Numerous organizational and individual comments explained that the timeframe

did not allow them a meaningful opportunity to gather and submit data, views, and arguments.

See, e.g., Tahirih Justice Center Comment at 7 (Oct. 22, 2020), https://www.regulations.gov/

document?D=EOIR-2020-0005-1105 (“[T]hese comments . . . cannot[] include all of the analysis

and evidence that Tahirih would have provided if given at least 60 days to respond to the rule”);

Amnesty International USA Comment, supra, at 2 (objecting to the comment period on the

grounds that “the public should not be forced to engage in guesswork on the interplay among”

rules issued in recent months).

               In the final rule, EOIR acknowledged that commenters “stated that the 30-day

comment period [was] an insufficient period of time for them to adequately consider and respond
                                               29
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 30 of 75




to the significance of the rule’s proposed changes,” particularly given many other recently-

published “complex proposed rules on a wide range of immigration-related topics.” See 85 Fed.

Reg. 81,704.

                EOIR offered no adequate justification for the abbreviated comment period, and

had no adequate response to commenters’ concerns.

                EOIR claims that the 30-day period was sufficient because the issues addressed by

the rule were “either already set by statute . . . , well-known to aliens and practitioners . . . , well-

established as immigration court practices . . . , or the deletion of provisions that were practically

inapplicable to EOIR.” Id. at 81,705. EOIR also argued that the Rule was “comparatively short.”

Id.

                EOIR’s justifications are factually incorrect because the Rule made many

significant changes to asylum that were not known or knowable to Plaintiffs or similar

organizations, much less their clients.

                The 30-day comment period meant that EOIR closed notice-and-comment on the

Rule before the finalization of the December 11 Rule upon which the framework for this Rule

depends.     EOIR acknowledged that there is “interplay” between other rules, including the

December 11 Rule, and this Rule. See 85 Fed. Reg. 81,702.

                The shortened, 30-day comment period thus prevented interested parties from being

able to comment on the combined impact of the December 11 Rule, this Rule, and the other

asylum-related rules also promulgated in December, and limited both the quantity and quality of

comments submitted.

        B.      EOIR Unforeseeably Changed the Scope of a Key Provision in the Final Rule

                As described above, supra ¶¶ 59–61, in the final Rule, EOIR also applied the new

15-day application deadline to a category of applicants to which EOIR had not proposed applying
                                                   30
           Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 31 of 75




that deadline in the NPRM. Specifically, the proposed rule applied the 15-day deadline only to

“asylum-and-withholding only” proceedings, while the final rule also applies that deadline to

“withholding only” proceedings. 85 Fed. Reg. 81,698–99.

              In Fiscal Year 2018 (the most recent year for which such statistics are available),

there were just 726 “asylum-and-withholding only” proceedings, but 3,236 “withholding only”

proceedings. DOJ, Statistics Yearbook FY 2018, tbl.4, https://www.justice.gov/eoir/file/1198896/

download. (There were a total of more than 150,000 asylum claims. Id. fig. 18)

              Nothing in the NPRM discussed withholding-only proceedings or provided notice

that EOIR was considering expanding the 15-day deadline to cover withholding-only proceedings.

              Only one commenter out of more than 2,000 addressed the possibility that the 15-

day deadline would be expanded to apply to withholding-only proceedings, and favored such

expansion. See Center for Immigration Studies Comment, supra, at 2–3. None of the many

commenters opposed to the 15-day deadline addressed the possibility that the 15-day deadline

would be expanded to apply to withholding-only proceedings in any detail.

              EOIR’s expansion of the 15-day deadline to cover withholding-only proceedings

deprived commenters of the opportunity to comment on the implications of the deadline for that

separate category of proceedings.

              Consequently, the Rule is not a logical outgrowth of the rule proposed in the

NPRM. See, e.g., Nat’l Lifeline Ass’n v. FCC, 921 F.3d 1102, 1115 (D.C. Cir. 2019). Interested

parties could not be expected to “divine [EOIR’s] unspoken thoughts,” Int’l Union, United Mine

Workers of Am. v. Mine Safety & Health Admin., 407 F.3d 1250, 1260 (D.C. Cir. 2005), of

imposing a 15-day deadline on a separate category of proceedings when the NPRM provided no




                                              31
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 32 of 75




hint that EOIR might take that course. “Something is not a logical outgrowth of nothing.”

Kooritzky v. Reich, 17 F.3d 1509, 1513 (D.C. Cir. 1994).

       C.      Multiple Interlocking Rulemakings Prevented Commenters From Assessing
               the Combined Effect of the Administration’s Changes to Asylum Policy

               EOIR issued the final Rule in the context of numerous pending rulemakings and

extensive ongoing litigation concerning changes the administration seeks to make to the asylum

and withholding of removal system.

               First, EOIR published the December 11 Rule, which dramatically expanded the

scope of the “asylum-and-withholding only” proceedings that are subject to the 15-day deadline,

after the comment period on the new Rule had closed. See December 11 Rule, 85 Fed. Reg. 80,274;

supra ¶¶ 56–58. The December 11 Rule has been challenged in its entirety, and it is unclear

whether it will take effect. See Pangea Legal Servs. v. DHS, No. 3:20-cv-09253 (N.D. Cal. filed

Dec. 21, 2020).

               Second, the effect of the December 11 Rule on the number of noncitizens subject

to the 15-day deadline itself depends upon the administration’s effort to expand expedited removal

proceedings to cover all noncitizens who have been in the United States for less than two years.

See Designating Aliens for Expedited Removal, 84 Fed. Reg. 35,409 (July 23, 2019). But that

expansion, too, has been challenged in court. See Make the Road N.Y., Inc. v. Wolf, 962 F.3d 612

(D.C. Cir. 2020).

               Third, the Rule’s provisions regarding payment of an asylum application fee will

take effect only if DHS’s separate USCIS Fee Rule establishing an application fee for asylum

applications takes effect. The USCIS Fee Rule has been challenged in court, and its effective date

has been stayed in full. See Immigrant Legal Res. Ctr. v. Wolf, No. 20-cv-05883, 2020 WL




                                               32
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 33 of 75




5798269, at *19 (N.D. Cal. Sept. 29, 2020); Nw. Immigrant Rights Project v. USCIS, No. 19-3283,

2020 WL 5995206, at *33 (D.D.C. Oct. 8, 2020).

               As a result of these and other pending rulemakings and litigation, EOIR admits

that even today, the “the interplay and impact of all of the rules is speculative at the present time,

particularly due to ongoing and expected future litigation, which may allow all, some, or none of

the rules to ultimately take effect.” 85 Fed. Reg. 81,702.

               This state of affairs prevented EOIR from analyzing the effects of the Rule, because

EOIR does not know what the other, interlocking legal rules that affect the Rule will be. See Motor

Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (agency

must “examine the relevant data and articulate a satisfactory explanation for its action including a

rational connection between the facts found and the choice made” (internal quotation marks

omitted)).

               This state of affairs also prevented commenters from meaningfully analyzing and

commenting on the Rule, as multiple commenters explained. See, e.g., Catholic Legal Immigration

Network, Inc. Comment at 3 (Oct. 23, 2020), https://www.regulations.gov/document?D=EOIR-

2020-0005-1607 (noting that “the public cannot reasonably comment on this proposed rulemaking

since it is not possible to know” the effects of other recent proposed rules); Human Rights First

Comment, supra, at 10 (“[I]t is impossible to provide well-informed and specific comments on the

current proposed rule without an opportunity to review this rule in the context of whatever

regulatory changes are ultimately adopted . . . .”).




                                                 33
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 34 of 75




        D.      Defendants Improperly Ignored and Discounted the Impact of the Rule on
                Small Entities, Violating the Regulatory Flexibility Act

                The Regulatory Flexibility Act (“RFA”), 5 U.S.C. § 601 et seq., requires federal

agencies to conduct a “regulatory flexibility analysis” analyzing how rules they promulgate will

affect “small entities,” and to publish final versions of that analysis. Id. § 604.

                Plaintiffs other than NIJC qualify as “small entities” under the RFA because each

is a “not-for-profit enterprise which is independently owned and operated and is not dominant in

its field,” Id. § 601(4).

                An agency can forgo a regulatory flexibility analysis “if the head of the agency

certifies that the rule will not . . . have a significant economic impact on a substantial number of

small entities” and publishes that certification in the Federal Register when it publishes the final

Rule. 5 U.S.C. § 605(b).

                Defendants did not conduct a regulatory flexibility analysis of the Rule. Rather,

EOIR purported to certify under § 605(b) that the Rule would not impact a substantial number of

small entities, on the ground that the Rule “applies to asylum applicants, who are individuals, not

entities.” 85 Fed. Reg. 81,747. The § 605(b) certification, like the rest of the Rule, was signed by

Defendant McHenry. Id.

                The § 605(b) certification in the Rule is invalid because it was not made by “the

head of the agency,” the Attorney General.

                In addition, the § 605(b) certification is incorrect. In addition to regulating asylum

applicants, the Rule also regulates organizations, like Plaintiffs, who represent asylum applicants,

by requiring Plaintiffs to comply with the Rule’s procedural requirements when they represent

asylum-seekers. For example, if Plaintiffs represent asylum-seekers in “asylum-and-withholding-

only” proceedings, the Rule requires Plaintiffs to complete asylum applications within 15 days.


                                                  34
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 35 of 75




               EOIR was therefore required to conduct a regulatory flexibility analysis in

promulgating the Rule, but failed to do so. See Aeronautical Repair Station Ass’n v. FAA, 494

F.3d 161, 176–77 (D.C. Cir. 2007).

VI.    NEARLY ALL OF THE RULE IS CONTRARY TO LAW AND ARBITRARY
       AND CAPRICIOUS

               Under the APA, the Court must “hold unlawful and set aside agency action,

findings, and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law,” or “in excess of statutory jurisdiction, authority, or limitations, or

short of statutory right.” 5 U.S.C. § 706(2)(A), (C).

               For starters, an “agency must have statutory authority for the regulations it wants

to issue.” Mexichem Fluor, Inc. v. EPA, 866 F.3d 451, 460 (D.C. Cir. 2017) (Kavanaugh, J.).

“Congress’s failure to enact” legislation “does not authorize [an agency] to act.” Id.

               Even where an agency acts with statutory authority, agency action is arbitrary and

capricious if the agency fails to “examine the relevant data and articulate a satisfactory explanation

for its action including a rational connection between the facts found and the choice made.” State

Farm, 463 U.S. at 43 (internal quotation marks omitted).

               Thus:

       [A]n agency rule would be arbitrary and capricious if the agency has relied on
       factors which Congress has not intended it to consider, entirely failed to consider
       an important aspect of the problem, offered an explanation for its decision that runs
       counter to the evidence before the agency, or is so implausible that it could not be
       ascribed to a difference in view or the product of agency expertise.

Id.

               Moreover, “[w]hen an agency changes course . . . it must be cognizant that

longstanding policies may have engendered serious reliance interests that must be taken into




                                                  35
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 36 of 75




account. It would be arbitrary and capricious to ignore such matters.” DHS v. Regents of the Univ.

of Cal., 140 S. Ct. 1891, 1913 (2020) (internal quotation marks and citations omitted).

       A.      The 15-Day Application Deadline Is Contrary to Statutory Authority and
               Arbitrary and Capricious

               EOIR’s decision to impose a 15-day deadline for many asylum, withholding of

removal, and CAT applications was contrary to and unauthorized by the INA and arbitrary and

capricious in violation of the APA. EOIR has imposed a deadline that is dramatically shorter than

the one-year deadline for asylum imposed by Congress. The Rule’s deadline also forms the basis

for the denial withholding of removal and CAT protection, both of which are mandatory forms of

relief subject to no filing deadline under the INA. And EOIR offered no adequate response to the

numerous commenters who explained that the deadline would be impossible for many or most

noncitizens subject to it to meet, and would therefore bar many valid claims. The record shows

that far from making the adjudication of asylum claims more efficient, the 15-day deadline will

simply preclude many noncitizens from obtaining relief to which they are entitled.

               1.      The 15-Day Deadline Is Contrary to the INA

               As explained above, supra ¶ 42, Congress itself established the deadline for

submitting asylum applications in the INA by providing that noncitizens “may apply for asylum”

so long as “the application [is] filed within 1 year after the date of the [noncitizen’s] arrival in the

United States.” 8 U.S.C. § 1158(a)(1), (2)(B).

               Congress adopted this one-year deadline after debating and rejecting a much

shorter, 30-day deadline due to many of the very concerns raised by commenters in response to

the Rule. See Sen. Rep. 104-249, at 43 (1996) (explaining that “the persons most deserving of

asylum status—those under threat of retaliation, those suffering physical or mental disability,




                                                  36
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 37 of 75




especially when abuse resulting from torture—would most be hurt by the imposition of any filing

deadline, and particularly so, if the deadline was thirty days”).

               Congress established no deadline at all for submitting withholding of removal

applications or applications for CAT protection, which are mandatory forms of protection. See 8

U.S.C. § 1231(b)(3); 8 C.F.R. §§ 1208.16-18; INS v. Cardoza-Fonseca, 480 U.S. 421, 440 & n. 25

(1987).

               Nothing in the INA authorizes the Attorney General or EOIR to set a different

across-the-board deadline for filing asylum applications from the one-year deadline Congress set,

nor to impose a deadline for filing withholding of removal and CAT protection applications, where

Congress opted not to impose any such deadline.

               An “agency must have statutory authority for the regulations it wants to issue,” so

Congress’ failure to enact” legislation “does not authorize [the agency] to act.” Mexichem Fluor,

Inc. 866 F.3d at 460. An agency “literally has no power to act unless and until Congress confers

power upon it.” Mozilla Corp. v. FCC, 940 F.3d 1, 74 (D.C. Cir. 2019) (per curiam).

               EOIR asserted that it had authority to impose the new deadline as an exercise of

gap-filling “in light of the [INA’s] silence on a timeframe for filing applications in asylum-and

withholding-only proceedings.” 85 Fed. Reg. 81,720.

               But the INA is not silent on the timeframe for filing asylum applications—it

provides a one-year deadline. Where “Congress has supplied a clear and unambiguous answer to

the interpretive question at hand,” as here, “that is the end of the matter; for the court, as well as

the agency, must give effect to the unambiguously expressed intent of Congress.” Pereira v.

Sessions, 138 S. Ct. 2105, 2113 (2018) (quoting Chevron U.S.A., Inc. v. Nat. Def. Council, Inc.,

467 U.S. 837, 842–43 (1984)).



                                                 37
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 38 of 75




               EOIR also portrayed the 15-day deadline as an extension of IJs’ authority under

existing regulations to enter and enforce case-specific filing deadlines in individual proceedings.

85 Fed. Reg. 81,725 (citing 8 C.F.R. § 1003.31(c)). But EOIR’s decision to impose an across-the-

board deadline on IJs and noncitizens for all cases is not a decision by IJs and not an exercise of

case-management authority, and it conflicts with Congress’ decision to impose a one-year

deadline.

               The 15-day application deadline is therefore invalid, because it is “in excess of

statutory jurisdiction, authority, or limitations,” and “not in accordance with law.” 5 U.S.C.

§ 706(2)(A), (C).

               The 15-day deadline is also contrary to the statutory provisions entitling

noncitizens, including asylum-seekers, to counsel of their choosing, as long as it comes at no

expense of the government. See 8 U.S.C. §§ 1229a(b)(4)(A), 1362. As discussed in greater detail

below, infra ¶¶ 169–186, by severely shortening the timeline in which an applicant has to obtain

counsel before risking the denial of relief for failing to submit a form, the deadline all but

eliminates the right to counsel in asylum proceedings for many applicants.

               2.     The 15-Day Deadline Is Arbitrary and Capricious

               EOIR’s imposition of the 15-day application deadline is also arbitrary and

capricious, in violation of the APA. See 5 U.S.C. § 706(2)(A). In imposing the new deadline,

EOIR entirely failed to consider important aspects of the problem EOIR was assertedly seeking to

address, and EOIR offered implausible explanations that run counter to the evidence before the

agency. See State Farm, 463 U.S. at 43. The Rule introduces unnecessary and burdensome

procedural requirements that will lead to the denial of meritorious asylum, withholding of removal,

and CAT protection claims.



                                                38
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 39 of 75




                       (a)     EOIR Entirely Failed to Consider How Noncitizens Could Comply
                               With the 15-Day Deadline

               The overwhelming evidence before EOIR showed that many noncitizens will be

unable to meet the new 15-day deadline. As commenters explained, noncitizens face a daunting

succession of barriers when attempting to complete asylum applications. See, e.g., American

Gateways Comment at 21 (Oct. 23, 2020), https://www.regulations.gov/document?D=EOIR-

2020-0005-1665;      Frances    Geteles,    Ph.D.     Comment     at    2–3    (Oct.   14,    2020),

https://www.regulations.gov/document?D=EOIR-2020-0005-0557.

               The common barriers faced by noncitizens include:

               (i)     Language barriers and translation needs:

               The I-589 application form and its corresponding instructions are offered only in

English, the form must be completed only in English, and all accompanying documentation must

be translated into English.

               Commenters explained that many noncitizens seeking asylum cannot speak, read,

or write English. E.g., American Gateways Comment, supra, at 21. They therefore require a

translator to understand and complete the form, and to translate all supporting documentation.

Some others may be illiterate, requiring additional assistance to prepare the I-589 application even

when translated to their native language.

               Many asylum applicants speak indigenous languages, for which it is especially hard

for them to find qualified translators. Commenters explained that finding translators is particularly

challenging for detained noncitizens, who often have no access to translators while in custody.

E.g., National Immigrant Justice Center Comment, supra, at 11.




                                                 39
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 40 of 75




               EOIR acknowledged that the 15-day deadline “applies principally to detained”

noncitizens. 85 Fed. Reg. 81,702. But EOIR did not explain how detained noncitizens could

obtain translator assistance in time to meet the Rule’s 15-day deadline.

               EOIR asserted without evidence that it “believes the 15-day deadline provides

sufficient time for the alien, in coordination with counsel, an interpreter, or translator if the alien

so chooses, to apply for relief.” 85 Fed. Reg. 81,713.

               EOIR also stated that “[t]ens of thousands of aliens—and hundreds of thousands in

recent years . . . —whose first language is not English file for asylum every year, and there is

simply no indication that applicants cannot complete the application and file it within a few

weeks.” 85 Fed. Reg. 81,713.

               There is currently no 15-day deadline, so the fact that many noncitizens are

currently able to apply for asylum without a comparable deadline does nothing to suggest that they

will be able to do so within 15 days.

               EOIR also pointed to an existing 10-day deadline for “alien crewmembers” to apply

for asylum. 85 Fed. Reg. 81,715; see 8 C.F.R. § 1208.5(b)(1)(ii). But crewmembers are subject

to special statutory provisions, see 8 U.SC. §§ 1281–1288, and asylum claims by crewmembers

have long been treated differently from other asylum claims. EOIR offered no analysis addressing

whether claims by alien crewmembers are in any way comparable to the vastly greater number of

asylum claims for which the Rule imposes a 15-day deadline. See 85 Fed. Reg. 81,715–16.

               (ii)    Access to counsel:

               The I-589 is a complex, 12-page form with 14 pages of instructions and more than

one hundred questions.




                                                  40
               Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 41 of 75




                 Many of those questions raise technical legal issues. For example, the I-589 asks

noncitizens to identify their “status” upon entry into the United States (question A.I.19.c), and

whether they are a member of a “particular social group” (Part B.1).

                 The 14-page instructions add to the complexity, such as by requiring that applicants

who do not submit corroborating evidence to explain why they failed to do so. I-589 Instructions,

part 1.

                 Commenters explained that while these questions and requirements may make

sense to immigration practitioners, they are impossible for even English-speaking non-lawyers to

accurately understand without counsel. See, e.g., National Immigrant Justice Center Comment,

supra, at 9.

                 Providers of pro bono legal services to noncitizens explained that the 15-day

deadline would impede their ability to represent asylum-seekers. See, e.g., Human Rights First

Comment, supra, at 2; Ayuda Comment at 7 (Oct. 23, 2020), https://www.regulations.gov/

document?D=EOIR-2020-0005-1702 (“With a fifteen-day window to apply for asylum, Ayuda

and other similar immigration legal services providers will be forced to turn away many, many

more individuals with meritorious and even strong claims for relief whom we would otherwise

represent.”); Legal Aid Justice Center Comment at 5 (Oct. 23, 2020), https://www.regulations.gov/

document?D=EOIR-2020-0005-1678 (“For immigrants who begin the search for an attorney after

their Master Calendar Hearing, the turn-around time for filing an I-589 would be less than fifteen

days, preventing law clinics from being able to take these cases.”).

                 For example, Human Rights First explained that it “can take weeks or months” to

“conduct a full legal intake of an asylum seeker, prepare a detailed case write-up of the asylum




                                                  41
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 42 of 75




claim, find a pro bono attorney to accept the case, and mentor that attorney through completion of

the I-589 application.” Human Rights First Comment, supra, at 2.

               No commenters who provide legal services to noncitizens favored the Rule’s 15-

day deadline or suggested that it would expand their ability to represent asylum-seekers.

               Although EOIR was obligated to “confront the problem[s] in a reasoned manner,”

Mozilla Corp., 940 F.3d at 67, and “articulate a satisfactory explanation for its action,” State Farm,

463 U.S. at 43, EOIR offered no response to the concrete ways in which commenters explained

that a 15-day deadline would preclude representation.

               EOIR instead concluded that the 15-day deadline might improve representation. 85

Fed. Reg. 81,735.

               EOIR’s sole support for the conclusion that the 15-day deadline might improve

representation was a single, 2016 survey of legal services providers that addressed the effect of

unspecified “delays at the immigration court,” while saying nothing about EOIR’s 15-day

deadline, or even about the timing of asylum applications in general. See 85 Fed. Reg. 81,735; see

also Human Rights First, The U.S. Immigration Court: A Ballooning Backlog that Requires Action,

https://www.humanrightsfirst.org/sites/default/files/HRF-Court-Backlog-Brief.pdf (as last visited

Jan. 7, 2021). EOIR cited no evidence that the 15-day deadline will do anything to alleviate the

broader set of “delays at the immigration court” that the 2016 survey discussed.

               EOIR assumed—with no evidentiary basis—that most applicants subject to the 15-

day deadline would have access to counsel if they wanted it. See 85 Fed. Reg. 81,735. In doing

so, EOIR relied on the fact that currently, “85% of aliens with pending asylum cases have

representation.” Id. EOIR’s statistic on current representation does not reflect the effects of the




                                                 42
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 43 of 75




15-day deadline, which has not yet been imposed, and which legal services providers uniformly

explained would impair representation.

               EOIR measures representation over the life of an immigration case, so this data

provides no information about how many noncitizens, especially detained noncitizens, have

counsel within 15 days of their first master calendar hearing.

               Commenters explained that only 6.9% of respondents in immigration proceedings

obtained counsel within one month of being issued an NTA. See Access to Attorneys Difficult for

Those Required to Remain in Mexico, TRAC Immigration (July 29, 2019), https://trac.syr.edu/

immigration/reports/568. Four months later, 70% remained unrepresented. See id; National

Immigrant Justice Center Comment, supra, at 9.

               EOIR’s statistic is also misleading. First, it does not differentiate between detained

and non-detained applicants, even though detained asylum-seekers are much less likely to be

represented. Second, as commenters explained, noncitizens who are fortunate enough to obtain

representation are less likely to have their cases quickly dismissed, and are thus overrepresented

among still pending asylum cases.              American Gateways Comment, supra, at 22,

https://www.regulations.gov/document?D=EOIR-2020-0005-1665.

               The evidence before EOIR therefore showed that it is likely that noncitizens in

“asylum-and-withholding only” proceedings will be unrepresented at their initial master calendar

hearings and then unable to obtain counsel within the 15-day deadline.

               EOIR argued that even if noncitizens could not obtain representation within the 15-

day deadline, noncitizens could obtain counsel “at any point in the proceedings, including after

filing an application.” 85 Fed. Reg. 81,735.




                                                43
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 44 of 75




               This explanation is cold comfort for those asylum-seekers whose cases will be

dismissed because they are unable to file an application in the first place.

               Commenters explained that noncitizens need representation to properly complete

the application itself. Human Rights First Comment, supra, at 2 (“Asylum seekers who lack [legal]

assistance frequently misunderstand key questions on the form, do not realize the level of detail

expected from them in response, and are, in many cases, attempting to reduce some of the most

painful experiences of their lives to writing in a foreign language.”). For noncitizens who are

unable to timely complete their applications on their own, there will be no later “point in the

proceedings” at which they may obtain counsel, because their claims will be deemed forever

waived. 85 Fed. Reg. 81,735.

               The deadline will also affect pro se detained individuals who receive assistance

from EOIR’s Legal Orientation Program (“LOP”), which is one of the central mechanisms for

providing access to legal information to detained noncitizens. Plaintiffs NIJC and the Florence

Project are providers of services under LOP. Statistics show that about 24% of LOP participants

do not receive any services until after their first master calendar hearing. See 85 Fed. Reg. 81,716.

That would leave them with fewer than 15 days in which to complete their application.

               Commenters raised this point, but EOIR discounted it by arguing that the LOP

“provide[s] no benefit” to noncitizens, citing longer lengths of detention and similar outcomes for

people served by LOP. See id. at 81,717 n.32. The longer detention time of LOP participants,

however, is the result of LOP participants exercising their rights and filing applications for relief

based on the information and help they receive from the LOP program, which causes them to have

more merits hearings than other noncitizens. EOIR, LOP Cohort Analysis at 4, 16 (Sept. 5, 2018),




                                                 44
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 45 of 75




https://www.justice.gov/eoir/file/1091801/download.      And LOP participants have a higher

likelihood of being granted relief than non-LOP participants. Id.

               EOIR’s discounting of the importance of the LOP program is arbitrary and

capricious in light of Congress’ express requirement that EOIR continue to fund that program. See

Consolidated Appropriations Act, 2021, Pub. L. No. 116-260, div. B, tit. II (2020) (providing $734

million to EOIR, “of which not less than $22,500,000 shall be available for services and activities

provided by the Legal Orientation Program”). 3        In appropriating these funds, the House

Appropriations Committee explained that “[t]he LOP improves the efficiency of court

proceedings, reduces court costs, and helps ensure fairness and due process,” and “direct[ed]

[DOJ] to continue LOP without interruption, including all component parts.” H.R. Rep. 116-455,

at 63; see also Senate Appropriations Committee, Explanatory Statement for the Departments of

Commerce and Justice, Science, and Related Agencies Appropriations Bill, 2021, at 87–88,

https://www.appropriations.senate.gov/imo/media/doc/CJSRept.pdf (similar).

               (iii)   Corroborating Evidence:

               The I-589 and its accompanying instructions require that noncitizens provide a

large amount of corroborating evidence, in addition to answering the questions on the form itself.

               Commenters explained that noncitizens often do not have this evidence with them,

so they must obtain it from the countries from which they fled. They therefore must coordinate

with family members or agencies in the country they fled to arrange for these documents to be

mailed to them. Even once it is received, the evidence is often not in English, but the I-589

instructions require that foreign language evidence be translated. See, e.g., National Immigrant


       3
          The Government Printing Office has not yet printed the Act in the Statutes at Large, but
the text of the Act is the same as H.R. 133, 116th Cong., at 65 (2020), https://www.govinfo.gov/
content/pkg/BILLS-116hr133enr/pdf/BILLS-116hr133enr.pdf

                                                 45
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 46 of 75




Justice Center Comment, supra, at 6–7. Moreover, forensic medical and psychological exams that

corroborate claims of past harm often take a minimum of weeks, and more often months, to obtain.

               EOIR provided no acknowledgment of these hurdles, nor any explanation for how

noncitizens could carry out those steps within the 15-day deadline. Indeed, EOIR appeared to

concede that noncitizens generally could not do so, but argued that the application itself could be

filed within 15 days, and that noncitizens could provide supporting evidence later “pursuant to an

immigration judge’s discretion.” See 85 Fed. Reg. 81,712.

               As that statement recognizes, however, IJs can and do refuse to allow

supplementation, so noncitizens must ensure that their initial applications are complete.

               Even where corroborating evidence is not required, commenters explained that

many questions require detailed historical information, such as the names, address, and dates of

attendance of every school attended, all employers in the last five years, and immigration history,

which applicants often do not know, and must learn from records available only in the countries

from which they fled. See National Immigrant Justice Center Comment, supra, 7–8.

               EOIR also argued that, “particularly for meritorious claims, an alien may not need

extensive documentation to support his or her claim because an alien can meet the relevant burden

of proof through credible, persuasive, and specific testimony.” 85 Fed. Reg. 81,712.

               However, both the I-589 instructions and longstanding precedent require

noncitizens to provide corroborating evidence where possible, and encourage IJs to discredit

testimony that is uncorroborated. I-589 Instructions, Part VII (“You must submit reasonably

available corroborative evidence showing (1) the general conditions in the country from which

you are seeking asylum, and (2) the specific facts on which you are relying to support your claim”);

see also, e.g., Sidhu v. INS, 220 F.3d 1085, 1091 (9th Cir. 2000), as amended on denial of reh’g



                                                46
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 47 of 75




(Sept. 27, 2000) (“[W]here material corroborating evidence was easily available to the asylum

seeker,” such as “[m]embership records contained in the files of a Nicaraguan church,” “failure to

produce such evidence can constitute substantial evidence supporting an adverse credibility

determination.”). Forgoing documentation is risky, and may lead to the denial of otherwise

meritorious claims.

                (iv)    Trauma:

                EOIR’s consideration of the 15-day deadline entirely failed to consider the fact that

asylum-seekers and torture survivors flee unspeakable violence in search of safety and suffer

ongoing harm from trauma. Many asylum-seekers are unable to disclose the extent and nature of

the harm they endured at the outset of their cases before the immigration court. In some instances,

asylum-seekers do not recognize that harm like incest, genital mutilation, and rape are relevant to

their claims for protection.

                Commenters explained that many refugees experience Post Traumatic Stress

Disorder and other mental health challenges that make it difficult for them to recount their

challenges. See, e.g., Frances Geteles, Ph. D. Comment supra, at 2 (describing how the legal

process can be “extremely painful” for traumatized individuals because telling their story “re-

activates the feelings of intense fear, terror and helplessness” from their original persecution);

Human Rights First Comment, supra, at 1–2 (describing dual effect of trauma in asylum-seekers’

countries of origin as well as conditions of detention). They explained that some refugees may not

even understand that their mistreatment amounted to persecution. National Immigrant Justice

Center Comment, supra, at 8.

                Commenters also explained that it is very common for these noncitizens to struggle

to articulate their persecution, particularly at the early stages of their cases, and that this provides



                                                  47
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 48 of 75




another barrier to complying with the Rule’s 15-day deadline. See, e.g., Tahirih Justice Center

Comment, supra, at 17–18.

               Having an attorney sometimes can assist with this process, but it still requires time

to build a trusting relationship between attorney and client. Furthermore, the 15-day deadline will

interfere with access to counsel. Supra ¶¶ 169–186.

               EOIR received numerous comments to this effect but rejected them as

“generalizations and unpersuasive.” 85 Fed. Reg. 81,713.

               EOIR failed to engage with or address the difficulties that this trauma raises for

noncitizens seeking to comply with the 15-day deadline.

               (b)     EOIR Entirely Failed to Consider the Effect of the 15-Day Deadline on the
                       Categories of Noncitizens Actually Subject to It.

               Both the expansion of “asylum-and-withholding only” proceedings to include

noncitizens in expedited removal and the expansion of expedited removal to include all noncitizens

present for less than two years are being challenged in court. Pangea Legal Servs., No. 3:20-CV-

09253; Make the Road N.Y., Inc., 962 F.3d 612.

               EOIR admits that “the interplay and impact of all of the rules is speculative at the

present time, particularly due to ongoing and expected future litigation, which may allow all, some,

or none of the rules to ultimately take effect.” 85 Fed. Reg. 81,702.

               EOIR does not know what categories of noncitizens will ultimately have their

asylum claims determined in “asylum-and-withholding only” or “withholding only” proceedings.

               While EOIR argues that it has weighed the benefits and drawbacks of the deadline

“in tandem with other rules,” the substance of EOIR’s justifications do not address whether the

15-day deadline is properly applied to any particular group of noncitizens. Id.




                                                48
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 49 of 75




               (c)    EOIR Entirely Failed to Consider Whether and How the 15-Day Deadline
                      Would Apply to Noncitizens in the Migrant Protection Protocols

               Under the MPP, many asylum-seekers are required to wait in Mexico while their

asylum claims are adjudicated.

               EOIR entirely failed to consider whether and how the 15-day deadline would apply

to and affect noncitizens who are subject to the MPP, and provided no justification for imposing

that deadline on such noncitizens.

               Commenters objected that the 15-day deadline would be especially problematic for

noncitizens in the MPP. National Immigrant Justice Center Comment, supra, at 16–17; American

Gateways Comment, supra, at 37 n.108.

               The multiple interacting rulemakings, along with ongoing litigation, leave it unclear

whether noncitizens in the MPP are subject to the 15-day deadline. The government has argued

that noncitizens in the MPP having their claims addressed under 8 U.S.C. § 1225(b)(2), which

would place the proceedings outside the regulatory definition of “asylum-and-withholding only”

proceedings and so not subject to the 15-day deadline. But the Ninth Circuit has suggested that

noncitizens in the MPP are in fact governed by 8 U.S.C. § 1225(b)(1), see Innovation Law Lab v.

Wolf, 951 F.3d 1073, 1083–87 (9th Cir. 2020), in which case the proceedings are likely within the

definition of “asylum-and-withholding only” proceedings as amended by the December 11 Rule,

and thus subject to the 15-day deadline.

               Commenters pointed out this ambiguity, but the final Rule does nothing to resolve

it. 4 See National Immigration Justice Center Comment, supra, at 16 n.30.


       4
         The preamble to the final rule refers to the MPP in the context of the requirement to
submit proof of payment of a $50 application fee, 85 Fed. Reg. 81,731—a requirement that applies
to all asylum applications—but does not address whether noncitizens subject to MPP are also
subject to the 15-day application deadline.

                                                49
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 50 of 75




                 Noncitizens subject to the MPP would face even greater difficulties in meeting the

15-day deadline than other noncitizens.

                 Commenters pointed out that noncitizens subject to the MPP often spend months

living in dangerous and squalid tent camps along the border, without access to any resources, that

they are overwhelmingly unrepresented, and the humanitarian crisis created by this policy has

caused thousands to experience hunger, homelessness, and violence. See National Immigrant

Justice Center Comment, supra, at 16; see also Migrant Protection Protocols: Implementation and

Consequences for Asylum Seekers in Mexico, Univ. of Tex. Strauss Ctr. For Int’l Security & Law

(May 2020), https://www.strausscenter.org/wp-content/uploads/PRP-218_-Migrant-Protection-

Protocols.pdf.

                 Commenters explained that noncitizens subject to MPP are more likely to be

unrepresented and to lack access to translators, and may have a particularly difficult time finding

interpreters and translators to help them understand and complete their I-589s. See Legal Aid

Justice Center Comment, supra, at 13 (listing logistical challenges associated with paying the $50

filing fee for individuals subject to MPP); Human Rights First Comment, supra, at 4 (similar);

Catholic Legal Immigration Network, Inc. Comment, supra, at 10 (“The vast majority of asylum

seekers subjected to MPP are unable to secure full legal representation for their claims.”); National

Immigration Justice Center Comment, supra, at 16 (describing difficulties for individuals subject

to MPP in finding interpreters, obtaining evidence, and mailing in their applications).

                 Commenters explained that noncitizens in MPP may also face additional challenges

obtaining the necessary supporting documents and evidence, as they must rely on the Mexican

postal system, may live in regions of Mexico without access to international carriers, and may not

have an address of their own. National Immigrant Justice Center Comment, supra, at 17;



                                                 50
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 51 of 75




Meadowlark Immigration PC Comment at 6, (Oct. 23, 2020), https://www.regulations.gov/

document?D=EOIR-2020-0005-1686.

               Commenters explained that it will also be difficult for noncitizens in MPP to

determine where to send their completed applications. For example, people in MPP in Laredo,

Texas, must appear for their hearings in makeshift courts with judges appearing by video from a

different location. People in Laredo must then know to submit their I-589s to the San Antonio

Immigration Court. See National Immigration Justice Center Comment, supra, at 17.

               As a result, the Rule’s 15-day deadline would have the effect of preventing most—

if not all—of these noncitizens from timely filing their I-589s.

               (d)     EOIR’s Argument that Noncitizens Will Have More Than 15-Days In
                       Practice Does Not Justify the Rule

               In the final Rule, EOIR argued that, in practice, noncitizens will have more than 15

days to complete their applications, because they could begin to work on their applications before

their first IJ hearing. 85 Fed. Reg. 81,714.

               This argument ignores the reality that many asylum-seekers do not learn they may

be eligible for asylum until they attend their first court hearing, and the fact that even noncitizens

who are able to obtain counsel will often not be able to do so until their first IJ hearing, so counsel

will still have no more than 15 days to complete asylum applications.

               Even if some noncitizens have a few extra days because they could begin their

applications before their first IJ hearing, EOIR still provides no basis for concluding that

noncitizens will be able to complete the applications in time, given all of the barriers described

above.




                                                  51
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 52 of 75




                (e)    The Possibility of an Extension for Good Cause Does Not Justify the Rule

                EOIR referred in the final Rule to the possibility of an extension of the 15-day

deadline for “good cause.” 85 Fed. Reg. 81,701.

                Moving for such an extension would require the noncitizen to know that such relief

is available and to request it, either orally at the first hearing or by written submission within that

same 15-day period, before the opportunity to apply is deemed waived, and the noncitizen is

removed.

                Many of the same barriers that will preclude noncitizens from completing

application forms on time will also preclude them from filing motions for extensions of time in

that same time period, especially for those who are pro se.

                (f)    EOIR Offered No Evidence that the 15-Day Deadline Will Speed Up
                       Asylum Adjudication

                EOIR asserted that the 15-day deadline is intended to speed up the adjudication of

asylum claims. E.g., 85 Fed. Reg. 81,701.

                Under current law, IJs already can and do impose their own case-specific filing

deadlines, which enables IJs to ensure that asylum applications are filed promptly enough that they

do not delay the adjudication of a noncitizen’s claims. See 85 Fed. Reg. 81,720; 8 C.F.R.

§ 1003.31(c).

                EOIR did not provide any explanation of how the 15-day deadline will better

promote prompt adjudication of asylum claims than this current, case-by-case approach. Imposing

a one-size-fits-all deadline based on the date of the first hearing does nothing to ensure timely case

completion. On the contrary, this new deadline will cause many more motions to amend or

supplement to be filed, which could ultimately even slow down the adjudication process.




                                                  52
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 53 of 75




       B.      The Provision that EOIR Must Reject Substantially Complete Applications
               At Any Time Is Arbitrary and Capricious

               EOIR’s decision to require IJs to reject asylum applications as incomplete at any

time if they discover that even a single inapplicable question is left unanswered, and then to

permanently reject those applications if the issue is not corrected within 30 days, is also arbitrary

and capricious in violation of the APA.

               Commenters pointed out that this requirement will lead EOIR to reject applications

with blanks in response to clearly inapplicable questions, such as leaving dates of employment

blank after stating “none” for employment history, or leaving a middle name blank because the

noncitizen does not have one. E.g., La Raza Centro Legal Comment at 6–7 (Oct. 23, 2020),

https://www.regulations.gov/document?D=EOIR-2020-0005-1643; National Immigration Justice

Center Comment, supra, at 12–13.

               Commenters also explained that without a lawyer, and often with no or limited

English literacy, applicants will not know that leaving a question blank will result in their

application being rejected. See Human Rights First Comment, supra, at 4–6; National Immigrant

Justice Center Comment, supra, at 18.

               EOIR does not deny that the Rule will cause applications to be rejected for these

reasons but instead points out that the previous regulations contained that same language about

responding to each question. 85 Fed. Reg. 81,727.

               The effect of that existing language has been tempered by the previous regulation’s

provision that applications be “deemed complete” if EOIR does not return them to the applicant

within 30 days. 8 C.F.R. § 1208.3(c)(3). The Rule eliminates that provision.

               Under the Rule, noncitizens could have their applications rejected even at their final

asylum hearings for failing to respond to questions that plainly did not apply to them.


                                                 53
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 54 of 75




                  Rejection for failure to respond to inapplicable questions has already occurred

under a similar rule applicable to USCIS, which USCIS agreed to revisit. See DHS, Ombudsman

Alert: Recent Updates to USCIS Form Instructions (Jan. 23, 2020), https://www.dhs.gov/blog/

2020/01/23/ombudsman-alert-recent-updates-uscis-form-instructions; Am. Immigration Lawyers

Ass’n, USCIS Agrees to Stop Rejecting Applications and Petitions for Blank Spaces as of

December 28, 2020 (Dec. 21, 2020), https://www.aila.org/advo-media/issues/all/featured-issue-

usciss-blank-space-policy.

                  EOIR offered no explanation for why rejecting applications for failing to respond

to inapplicable questions will serve the purposes of the asylum system Congress created, or lead

to any other efficiencies or advantages for EOIR. To the contrary, rejecting applications on such

technicalities turns the form into a trap to justify denial of asylum claims regardless of their

ultimate merit.

                  Even as it eliminates EOIR’s deadline and therefore gives EOIR unlimited time to

review asylum applications for completeness, the Rule introduces a new, 30-day deadline for

noncitizens to correct any inadequacies in their asylum applications. See 85 Fed. Reg. 81,750.

                  This 30-day deadline will cause particular problems for noncitizens in MPP.

Commenters explained that noncitizens in MPP are far less likely to have counsel. See Amnesty

International USA Comment, supra, at 6 (noting that only 5% of individuals forced to remain in

Mexico under MPP have legal counsel); National Immigrant Justice Center Comment, supra, at

17–18 (noting that only 2.7% of respondents in MPP were represented).

                  Commenters also pointed out that if EOIR returns a rejected I-589, most people in

MPP will be unable to receive them due to lack of fixed address. See National Immigrant Justice




                                                 54
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 55 of 75




Center Comment, supra, at 18. Commenters submitted evidence that shelters housing noncitizens

in MPP have been unable to deliver hundreds of letters to their residents for that reason. Id.

               Commenters raised all of these issues, but EOIR ignored them in promulgating the

final Rule, and thus entirely failed to consider them.

        C.     Requiring Asylum-Seekers to Provide Proof of Payment of Any Asylum Fee
               in Their I-589 Is Arbitrary and Capricious

               EOIR’s decision to require up-front proof of payment of any applicable asylum

application fee is also arbitrary and capricious.

               Commenters explained that noncitizens applying for asylum are very often of

limited means and will have difficulty paying the fees in advance, particularly in advance of the

Rule’s new 15-day deadline, for those noncitizens who are subject to that deadline. E.g., Central

American Legal Assistance Comment at 10 (Oct. 23, 2020), https://www.regulations.gov/

document?D=EOIR-2020-0005-1590; Northwest Immigrant Rights Project Comment at 3–5 (Oct.

23, 2020), https://www.regulations.gov/document?D=EOIR-2020-0005-1691.

               Commenters also explained that it will be logistically impossible for some people,

especially those in who are detained or in MPP, to pay the fee in the manner required by the Rule,

because they will not have access to the methods of payment by which the fee may be paid.

National Immigrant Justice Center Comment, supra, at 14; Innovation Law Lab Comment, supra,

at 5.

               Applicants inside the United States must pay filing fees with a credit card; by mail

with a credit card, check, or money order; or in person at a field office. USCIS, Filing Fees,

https://www.uscis.gov/forms/filing-fees (Oct. 30, 2020). Commenters explained that by virtue of

their detention, detained noncitizens do not have access to credit cards, checks, or money orders,




                                                    55
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 56 of 75




and often do not even have internet access. See National Immigrant Justice Center Comment,

supra, at 14; Innovation Law Lab Comment, supra, at 5.

                Commenters further explained that payment will be even more difficult for

noncitizens required to remain in Mexico under the MPP, as USCIS “do[es] not accept all forms

of payment abroad.” USCIS, Filing Fees, supra; see National Immigrant Justice Center Comment,

supra, at 17.

                Despite comments to this effect, EOIR had no response—it simply failed to

consider whether and how, as a practical matter, the required fees could be paid. EOIR did list

certain methods of payment that USCIS accepts, but did not address commenters’ explanation that

many noncitizens subject to the Rule, including detained noncitizens and noncitizens in MPP, will

not have access to those payment methods. 85 Fed. Reg. 81,733.

                EOIR objected that “concerns about the ability of aliens to pay the $50 fee given

USCIS’s available methods of payment” were “far beyond the scope of this rulemaking and more

appropriately addressed to DHS.” Id. But the USCIS Fee Rule merely set the fee for an asylum

application at $50 and made it non-waivable. See 85 Fed. Reg. 46,917. The USCIS Fee Rule did

not address how the fee could be paid, when it must be paid, or the consequences of nonpayment.

See id.

                EOIR thus entirely failed to consider how noncitizens would be able to make

payments that the Rule requires them to make, or provide proof of those payments, in the face of

commenters’ evidence that they would not be able to do so.

                As a result of this provision, Plaintiffs may have to pay for their clients’ asylum

applications, simply to preserve the ability to seek protection. Plaintiffs do not ordinarily pay




                                                56
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 57 of 75




government fees for clients, nor do they have existing funding streams to draw from for this

purpose.

               Plaintiff NIJC represented more than 1,800 asylum-seekers in 2020. If NIJC had

to pay the filing fee for even one third of those applicants, the total would be $30,000. Likewise,

if Las Americas (a smaller organization as compared NIJC) had to pay the asylum filing fee just

for the current participants in its MPP program (setting aside the other asylum-seekers it

represents), the cost would be approximately $4,000.

       D.      Heightening the Evidentiary Burden For Non-Governmental Sources
               Prejudices Noncitizens, Is Unnecessary, and Further Politicizes EOIR
               Proceedings

               The Rule’s changes to 8 C.F.R. § 1208.12(a) to lower the evidentiary standard for

admitting evidence from U.S. Government sources while heightening the standard for

nongovernmental and foreign sources is also arbitrary and capricious.

               The Rule creates a new, two-tiered system in which evidence by nongovernmental

sources can be considered only if deemed “credible and probative,” whereas IJs “may rely” on

evidence authored by the U.S. Government without such an analysis.

               This new standard results in a system in which the Executive Branch not only

prosecutes and adjudicates asylum cases, but also provides favored evidence even though there is

no basis for assume that such evidence is not per se more reliable than evidence from non-

governmental sources.

               EOIR contends that U.S. Government evidence “warrant[s] particular consideration

because of [its] credible source.” 85 Fed. Reg. 81,737.

               Commenters explained, however, that U.S. Government sources are not inherently

credible in the asylum context. E.g., Make the Road New Jersey Comment, supra, at 8–9 (noting

that a recent whistleblower accused DHS senior officials of requesting him to alter reports that
                                                57
           Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 58 of 75




would otherwise undermine the President’s policy objectives with respect to asylum); Northwest

Immigration Rights Project Comment at 9 (Oct. 23, 2020), https://www.regulations.gov/

document?D=EOIR-2020-0005-1691 (citing evidence that “Department of State (DOS) reports

are subject to political pressure”); Human Rights First Comment, supra, at 7–9 (noting that State

Department human rights reports have “reduced coverage of gender discrimination and domestic

abuse”); Tahirih Justice Center Comment, supra, at 25 (“Meddling by political appointees in the

timing and content of DHS reports, including reports on countries that generate migrants, is

commonplace.”).

               By establishing a presumption that U.S. Government evidence is credible and

probative and making it very difficult to introduce contrary evidence, the two-tiered standard in

the Rule will allow IJs to consider and rely on evidence from U.S. Government sources that has

not been determined to be, and may not be, credible or probative.

               EOIR did not explain why allowing IJs to consider and rely on non-credible or non-

probative U.S. Government sources would aid in the adjudication of asylum claims, and thus failed

to justify the regulatory change actually being made. Nor did EOIR not acknowledge or consider

persistent and growing concerns with the accuracy and credibility of U.S. Government sources

like State Department reports.

               This provision also will make it harder for noncitizens to introduce specific

evidence from local sources that may not be covered at all by U.S. Government sources, thereby

prejudicing their claims. Here too, EOIR did not explain or justify why this outcome would help

adjudication of asylum claims.




                                               58
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 59 of 75




       E.      Allowing Immigration Judges to Enter Evidence Into the Record Is Contrary
               to the INA and Arbitrary and Capricious

               The Rule’s amendment to 8 C.F.R. § 1208.12(a) to authorize IJs to enter their own

evidence into the record is both contrary to the INA and arbitrary and capricious.

               Congress expressly set forth IJs’ authority in the INA, by providing that the IJ “shall

administer oaths, receive evidence, and interrogate, examine, and cross-examine the alien and any

witnesses.” 8 U.S.C. § 1229a(b)(1). Absent from the statute is any authority for the IJ to admit

his or her own evidence. In contrast, the statute expressly provides that “the alien shall have a

reasonable opportunity . . . to present evidence on the alien’s own behalf.”               8 U.S.C.

§ 1229a(b)(4)(B). Consequently, authorizing IJs to enter their own evidence into the record is

contrary to the INA.

               The prior version of that same statutory provision authorized IJs’ predecessors,

“special inquiry officers,” to “administer oaths, present and receive evidence, interrogate, examine,

and cross-examine the alien or witnesses.” 8 U.S.C. § 1252(b) (1994) (emphasis added).

               Congress’ decision to delete the words “present and” when it amended and

renumbered this provision in 1996, while otherwise leaving the provision intact, can only be

understood as reflecting Congress’ determination that IJs should not present their own evidence.

The Rule would overturn this congressional decision without statutory authority.

               EOIR entirely failed to consider this statutory change in issuing the rule. The Court

must therefore set the Rule aside as “not in accordance with law” and “in excess of statutory . . .

authority.” 5 U.S.C. § 706(2).

               EOIR argued that IJs already had authority to offer their own evidence. 85 Fed.

Reg. 81,738. EOIR is wrong.




                                                 59
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 60 of 75




               EOIR relies principally on the Board of Immigration Appeals’ decision in In re S-

M-J-, 21 I. & N. Dec. 722, 727 (BIA 1997), but the BIA in S-M-J- construed the pre-1996 language

quoted above. The same is true of Constanza-Martinez v. Holder, 739 F.3d 1100, 1102 (8th Cir.

2014), on which EOIR also relied, see 85 Fed. Reg. 59,695. S-M-J- and Constanza-Martinez

therefore did not address the current statutory language, which does not allow IJs to “present . . .

evidence” of their own.

               EOIR’s reliance on other authorities conflates IJs’ duty to “establish the record”

and “develop the record”—which IJs can carry out by examining and cross-examining witnesses,

as the INA authorizes—with the power to admit evidence of their own, which the INA does not

authorize and these other authorities do not address. See, e.g., Yang v. McElroy, 277 F.3d 158,

162 (2d Cir. 2002); Richardson v. Perales, 402 U.S. 389, 410 (1971).

               EOIR’s reliance on these inapposite authorities, and its false claim that IJs have

existing authority to admit their own evidence, provide no adequate justification for the Rule.

               In addition, 8 U.S.C. § 1229a(b)(4)(B) guarantees noncitizens a “reasonable

opportunity to examine the evidence.” The Rule undermines and is contrary to that guarantee by

allowing IJs to admit their own favored evidence on their own motion, subject only to an

opportunity for the noncitizen to object. This portion of the Rule is therefore arbitrary and

capricious in addition to being contrary to law.

       F.      Requiring IJs to Adjudicate Applications Within 180 Days Absent
               Exceptional Circumstances Such as Battery, Extreme Cruelty, Serious
               Illness, or Death Is Contrary to the INA and Arbitrary and Capricious

               The Rule’s provisions requiring IJs to adjudicate asylum claims within 180 days,

absent an extraordinarily narrow and logically inapposite definition of exceptional circumstances,

and restricting IJs’ authority to grant continuances or adjournments that will extend adjudication

past 180 days, are also contrary to the INA and arbitrary and capricious in violation of the APA.
                                                   60
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 61 of 75




               The INA states that asylum claims should be adjudicated within 180 days, absent

“exceptional circumstances.”      8 U.S.C. § 1158(d)(5)(A)(iii).       The INA does not define

“exceptional circumstances” for purposes of that provision.

               The Rule renders that existing statutory deadline much more restrictive by adopting

a narrow definition of exceptional circumstances:

       the term exceptional circumstances refers to exceptional circumstances (such as
       battery or extreme cruelty to the alien or any child or parent of the alien, serious
       illness of the party or immigration judge, or serious illness or death of the spouse,
       child, or parent of the alien, but not including less compelling circumstances)
       beyond the control of the parties or the immigration court.

8 C.F.R. § 1003.10(b).

               That definition comes, with slight modifications, from the definition of

“exceptional circumstances” that Congress drafted in the INA to set forth the circumstances that

would an excuse a noncitizen’s failure to appear for a scheduled hearing.             See 8 U.S.C.

§ 1229a(b)(5)(A), (e)(1).

               Congress expressly limited that definition so that it applied only for purposes of

excusing a failure to appear, see id., even though the term “exceptional circumstances” also

appears elsewhere in the INA, including in the asylum statute’s 180-day deadline, id.

§ 1158(d)(5)(A)(iii).

               EOIR’s decision to apply that definition to the use of “exceptional circumstances”

in § 1158 is contrary to Congress’ decision to limit the definition to the failure-to-appear context.

               EOIR’s decision to require that asylum claims be adjudicated within 180 days

absent such narrowly defined exceptional circumstances is also arbitrary and capricious.

               Unlike in the failure-to-appear context, which addresses a noncitizen’s failure to

meet his or her obligations, the 180-day deadline is addressed to EOIR—it requires that EOIR

adjudicate asylum cases quickly. See id. As used in the INA’s 180-day deadline, the phrase
                                                 61
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 62 of 75




“exceptional circumstances” should therefore be interpreted to include exceptional circumstances

affecting EOIR, such as EOIR’s chronic case backlogs that, as noted above, supra ¶¶ 98–99, have

almost never allowed it to meet the 180-day deadline, and the need to provide sufficient time to

afford due process to noncitizens’ asylum applications.

               EOIR did not consider how IJs could meet the 180-day deadline in the absence of

the narrowly defined exceptional circumstances, given that they have almost never been able to do

so before.

               The National Association of Immigration Judges explained that “the overwhelming

numbers of applicants in 2020 make it impossible to meet the 180-day deadline while ensuring

due process.” National Association of Immigration Judges Comment at 2 (Oct. 23, 2020),

https://www.regulations.gov/document?D=EOIR-2020-0005-1701.

               The Rule does not make any other changes that could assist IJs in meeting the

deadline. The Rule’s 15-day application deadline will not help, because the 180-day deadline runs

from the submission of the application.        And while the Rule restricts continuances and

adjournments, EOIR offers no showing that unnecessary continuances or adjournments are to

blame for the fact that many asylum claims currently take longer than 180 days to adjudicate.

               EOIR entirely failed to consider what changes IJs will need to make to their

handling of asylum claims in order to meet the newly restrictive deadline, and thus did not consider

the inevitable side-effects of requiring IJs to dramatically speed up asylum adjudication.

VII.   THE RULE VIOLATES INTERNATIONAL LAW AND THE CONSTITUTION

       A.      The Asylum Procedure Rule Is Inconsistent with the United States’
               Obligations Under Treaties & International Law

               The Rule violates the United States’ non-refoulement obligation under: (1) the 1967

Protocol (which binds adhering parties to the Refugee Convention with respect to “refugees”), 19


                                                62
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 63 of 75




U.S.T. 6223, TIAS No. 6577, 606 U.N.T.S. 267 (1967), (2) the CAT, 465 U.N.T.S. 85, and (3) the

International Covenant on Civil and Political Rights (ICCPR), Dec. 16, 1966, T.I.A.S. No. 92-908,

999 U.N.T.S. 171. See also supra ¶¶ 25–26.

               In general terms, these treaties define the non-refoulement principle as an obligation

to not expel a person to another state “in pursuance of a decision reached in accordance of law”

where that person’s life or freedom would be threatened on account of her race, religion,

nationality, membership in a particular social group, or political opinion, or where there are

substantial grounds to believe that person would be in danger of being subjected to torture.

               Despite those commitments, the Rule accords more weight to compliance with its

procedural obstacles than it does to the risk of unlawfully returning noncitizens to their persecutors.

               In particular, the United States’ non-refoulement obligations require that

noncitizens never be removed to countries in which they will face persecution, and the Rule

violates those obligations by requiring IJs to dismiss asylum, withholding of removal, and CAT

claims submitted by noncitizens who are unable to submit an application before the 15-day

deadline (or, for asylum claims, who lack the resources to pay the $50 asylum application fee up

front), purely on the basis of these noncitizens’ inability to meet procedural and financial

requirements, and even if the noncitizen will face persecution if removed.

       B.      The Rule Violates Due Process

               The Fifth Amendment of the United States Constitution declares that “[n]o person

. . . shall . . . be deprived of life, liberty, or property, without due process of law.” U.S. Const.

amend. V.

               A “fundamental requirement” of the Due Process Clause of the Fifth Amendment

is the “opportunity to be heard at meaningful time and in meaningful manner.” Mathews v.

Eldridge, 424 U.S. 319, 333 (1976) (internal quotation marks omitted).
                                                  63
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 64 of 75




               The Supreme Court has held that the fundamental requirements of procedural due

process include: notice of the government’s proposed action, an opportunity for a fair hearing

before an impartial decisionmaker, the right to present evidence and confront the government’s

evidence, and the right to be represented by counsel. See, e.g., Hamdi v. Rumsfeld, 542 U.S. 507,

533, 539 (2004); Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985); Ward v. Village

of Monroeville, 409 U.S. 57, 61-62 (1972); Fuentes v. Shevin, 407 U.S. 67, 80 (1972).

               This procedural due process right provides a right to fundamental fairness in the

adjudication of their asylum claims, which are often a matter of life and death for the respondent.

See, e.g., Salazar-Gonzales v. Lynch, 798 F.3d 917, 921 (9th Cir. 2015); Rodrigues-Laira v. INS,

282 F.3d 1218, 1226 (9th Cir. 2002); Olabanji v. INS, 973 F.2d 1232, 1234 (5th Cir. 1992).

               Despite these requirements, the Rule violates due process by imposing the

unnecessary procedural obstacles described above, including the 15-day application deadline and

the requirement to pay all filing fees in advance, whether or not any payment method is as a

practical matter available, which will be impossible for many noncitizens to surmount.

               The Rule also violates due process by allowing IJs to rely on non-credible evidence

from U.S. Government sources while restricting non-governmental evidence, and by allowing IJs

to admit their own favored evidence.

VIII. THE RULE IRREPARABLY HARMS PLAINTIFFS AND THE NONCITIZENS
      THEY SERVE

               Plaintiffs NIJC, ImmDef, the Florence Project, and Las Americas are nonprofit and

nonpartisan organizations that provide legal services to immigrants. If the Rule is allowed to take

effect, then in addition to the severe and irreparable harms to noncitizens already detailed above,

it will also case severe and irreparable harm to Plaintiffs themselves, by jeopardizing Plaintiffs’




                                                64
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 65 of 75




ongoing programs, forcing them to divert resources, putting their funding at risk, and frustrating

their missions by gravely harming their clients.

                First, the Rule’s 15-day filing deadline will interfere with Plaintiffs’ representation

of many of their clients. Many potential clients may be removed for failing to file a timely

application before Plaintiffs are even able to meet them. And even where Plaintiffs meet potential

clients in advance of the 15-day deadline, Plaintiffs will need to arrange meetings with clients,

obtain reliable interpretation and translation services, build rapport, fill out required forms, gather

supporting evidence, and pay a fee, all within a two-week period. For detained clients, this process

will require multiple trips to a remote detention center, scheduling and rescheduling calls that are

routinely capped at 15 or 30 minutes, and vying for limited visitation appointment slots. For clients

in MPP, it may involve multiple long waits at the border and the inability to reliably contact clients

via email, mail, or telephone. Plaintiffs will need to adjust staff workloads, schedules, and intake

procedures in an effort to make this possible.

                Reducing caseloads, in turn, is likely to put Plaintiffs’ funding at risk. Plaintiffs

receive funding from various sources, including private foundations, governmental funds (federal,

state, and local), and private donors. In some cases, the performance metrics for funding are tied

to the number of clients served. Plaintiffs anticipate that the Rule will decrease the number of

clients they can serve, and that their funding is likely to similarly decrease.

                Second, the Rule’s fee requirement will impair Plaintiffs’ missions. Many of

Plaintiffs’ clients will be unable to pay a $50 fee in advance of filing their applications, so Plaintiffs

may often need to pay it on their clients’ behalf. To do so, Plaintiffs may need to divert money

from other areas of their budgets.




                                                   65
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 66 of 75




               Third, the Rule’s adoption of an evidentiary double-standard for asylum hearings

will require Plaintiffs to spend more time gathering evidence and arguing for its acceptance into

the record at every asylum hearing.

               Fourth, the Rule’s changes to the 180-day deadline for the adjudication of asylum

claims, including the narrow “exceptional circumstances” definition and the restrictions on

continuances, may impair Plaintiffs’ ability to represent many of their most vulnerable clients, by

preventing adequate interviews and evidence gathering. Expediting these processes may harm the

client, hinder the lawyer, and increase Plaintiffs’ costs. Plaintiffs may have to stop accepting the

more complicated cases that would require this kind of costly support.

               The changes to the 180-day deadline will also make it harder for Plaintiffs to place

cases with pro bono counsel. It takes time to recruit, refer, and train pro bono teams. As a result

of the deadline, more work will fall on Plaintiffs’ in-house staff as their capacity is being squeezed

by the Rule.

               The changes to the 180-day deadline will also affect Plaintiffs’ representation of

noncitizens who are seeking relief from USCIS while their claims are pending, such as applicants

for U Visas, which are available to survivors of crimes. Under the Rule, Plaintiffs’ clients may

have their asylum claims denied, and be removed from the country, before USCIS processes their

applications for other relief. While relief from USCIS may still be pursued from abroad, it will be

more expensive and difficult for Plaintiffs to continue representing clients who are no longer in

the United States.

               All of these changes will come at the expense of other, priority work. It will also

take a health toll on the employees at Plaintiff organizations, who will have more work, worse




                                                 66
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 67 of 75




outcomes, and higher rates of burnout and attrition. In turn, this will cost Plaintiffs more in

recruitment, hiring, and training staff.

                                           LEGAL CLAIMS

                                       COUNT ONE
         (Violation of the APA, 5 U.S.C. § 706(2)(C) – Lack of Statutory Authority)

                Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth within.

                The APA provides that a “reviewing court shall—hold unlawful and set aside

agency action, findings, and conclusions found to be . . . in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C).

                The INA grants authority to the Attorney General to issue regulations. 8 U.S.C.

§ 1103(g)(2).

                The final Rule was signed solely by Defendant McHenry as Director of EOIR, and

not by the Attorney General or acting Attorney General.

                The Attorney General has never delegated authority to the Director of EOIR to

engage in notice and comment rulemaking. See 8 C.F.R. § 1003.0(b).

                Because Defendant McHenry was without statutory or delegated authority to issue

the Rule, the issuance of the rule was “in excess of statutory jurisdiction, authority, or limitations,”

5 U.S.C. § 706(2)(C), and not in accordance with law, id. § 706(2)(A), and the Rule should be set

aside.

                                       COUNT TWO
      (Violation of the APA, 5 U.S.C. § 706(2)(D) – Procedural Rulemaking Violations)

                Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth within.



                                                  67
               Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 68 of 75




                 The APA provides that a “reviewing court shall—hold unlawful and set aside

agency action, findings, and conclusions found to be . . . without observance of procedure required

by law.” 5 U.S.C. § 706(2)(C). Defendants failed to engage in an appropriate rulemaking process.

                 First, the Rule was issued after an inadequate, 30-day comment period that did not

provide interested parties “a reasonable opportunity to participate in the rulemaking process.” Am.

Radio Relay League, Inc. v. FCC, 524 F.3d 227, 236 (D.C. Cir. 2008) (internal quotation marks

omitted). “[A] sixty-day period” is considered “a more reasonable minimum time for comment”

on a typical rule. Petry v. Block, 737 F.2d 1193, 1201 (D.C. Cir. 1984) (internal quotation marks

omitted). Defendants violated the APA by allowing the public only 30 days to comment on this

sprawling Rule in the midst of a global pandemic and in close succession to the comment periods

for numerous other NPRMs.

                 Second, the Rule incorporated material changes that were not the logical outgrowth

of the proposed rule, depriving interested parties of the opportunity to comment on those changes.

                 Third, the Rule was issued in the context of multiple interlocking rulemakings and

adjudications that made it impossible for commenters to analyze and comment on the full effects

of the Rule.

                 Because the entire Rule was issued “without observance of procedure required by

law,” it is unlawful under the APA.

                                        COUNT THREE
                 (Violation of the APA, 5 U.S.C.§ 706(2)(A) – Contrary to Law)

                 Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth within.




                                                 68
           Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 69 of 75




               The APA provides that a “reviewing court shall—hold unlawful and set aside

agency action, findings, and conclusions found to be . . . not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

               The Rule is not in accordance with the INA. Specifically, it:

               a.     Violates 8 U.S.C. § 1158(a)(2)(B). That provision gives asylum-seekers

                      one-year to seek asylum, but the 15-day window imposed by the Rule

                      impermissibly shortens that timeframe.

               b.     Violates 8 U.S.C. §§ 1158(a)(1) and 1231(b)(3) and 8 C.F.R §§ 1208.16-

                      18. The first of these provisions allows “any alien” to apply for asylum if

                      she is present in the United States. The latter provisions provide mandatory

                      relief from deportation in cases where there is a probability that the

                      individual will be persecuted or tortured abroad. By mandating the denial

                      of protection claims for failure to meet a 15-day deadline, produce proof of

                      payment, or for blanks on the application form, the Rule deprives many

                      noncitizens of their ability to pursue these forms of relief.


               c.     Violates 8 U.S.C. § 1229a(b)(4)(B). Under that provision, noncitizens

                      have a right to a “reasonable opportunity to examine the evidence” against

                      them and to present evidence of their own. The Rule violates this provision

                      by allowing IJs to provide evidence on their own, and permitting IJs to

                      weigh government evidence over other sources.

               d.     Violates 8 U.S.C. §§ 1229a(b)(4)(A) and 1362. Those provisions afford

                      noncitizens the right to counsel of their choosing, as long as it is not at the

                      Government’s expense. By reducing the timetable for seeking asylum and

                                                69
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 70 of 75




                       related protection, the Rule, all but eliminates the right to counsel for

                       purposes of filing an asylum application.

               e.      Violates 8 U.S.C. § 1158(d)(5)(A)(iii).        That provision codifies the

                       expectation that asylum applications will be adjudicated within 180 days

                       absent “exceptional circumstances.”         By adopting a definition of

                       “exceptional circumstances” that has no rational relation to the adjudication

                       of asylum claims, the Rule violates this provision.

               The Rule violates international treaty obligations requiring the United States to

refrain from returning individuals to places where they face a significant possibility of persecution

or torture. Article 33.1 of the 1951 United Nations Convention Relating to the Status of Refugees

“imposed a mandatory duty…not to return an alien to a country where his ‘life or freedom would

be threatened on account of one of the enumerated reasons.” INS v. Cardoza-Fonseca, 480 U.S.

421, 429 (1987) (quoting the Refugee Convention, 19 U.S.T. at 6259, 6278, T.I.A.S. No. 6577

(1968)). Likewise, FARRA, Pub. L. No. 10-277, div. G, tit. XXII, § 2242, 112 Stat. 2681, 2681-

822 (1998) (codified as Note to 8 U.S.C. § 1231), codified the United States’ prohibition on

deportation to counties where there are substantial grounds for believing that the person would

face torture. See also 8 C.F.R. §§ 1208.16–1208.18. By eliminating the opportunities for applicant

to seek protection from deportation to persecution or torture, the Rule violates the United States’

obligation to provide for these mandatory protections.

               Finally, the Rule is contrary to law in that it violates the Due Process Clause, see

infra Count V, and the Regulatory Flexibility Act, see infra Count VI.

               Because the Rule violates these legal provisions, it is unlawful under the APA.




                                                 70
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 71 of 75




                                       COUNT FOUR
           (Violation of the APA, 5 U.S.C.§ 706(2)(A) – Arbitrary and Capricious)

               Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth within.

               The APA provides that a “reviewing court shall—hold unlawful and set aside

agency action, findings, and conclusions found to be arbitrary, capricious, [or] an abuse of

discretion.” 5 U.S.C. § 706(2)(A).

               EOIR failed to adequately justify the six provisions of the Rule described in supra

¶ 41, including by entirely failing to consider important aspects of the problems it was considering,

by offering explanations for the Rule that run counter to the evidence before the agency, and by

offering explanations that are so implausible that they cannot be ascribed to a difference in view.

               Because those six provisions of the Rule are arbitrary and capricious, they are

unlawful under the APA.

                                          COUNT FIVE
                       (Violation of the Fifth Amendment – Due Process)

               Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth within.

               The Fifth Amendment of the United States Constitution declares that “[n]o

person . . . shall . . . be deprived of life, liberty, or property, without due process of law.” U.S.

Const. amend. V.

               A “fundamental requirement” of the Due Process Clause of the Fifth Amendment

is the “opportunity to be heard at meaningful time and in meaningful manner.” Mathews v.

Eldridge, 424 U.S. 319, 333 (1976) (internal quotation marks omitted).




                                                 71
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 72 of 75




               The combined effect of the Rule deprives noncitizens of their Fifth Amendment

rights by taking away their meaningful right to be heard on their eligibility for asylum, withholding

of removal, and the Convention Against Torture.

               Defendants’ violation of the Due Process Clause causes ongoing, imminent, and

irreparable harm to the Plaintiffs.

                                         COUNT SIX
               (Violation of the Regulatory Flexibility Act, 5 U.S.C. 601, et seq.)

               The RFA, as amended, requires federal administrative agencies to analyze how

rules they promulgate will affect “small entities,” and to publish final versions of those regulatory

flexibility analyses. 5 U.S.C. §§ 603–604.

               Plaintiffs the Florence Project, Las Americas, and ImmDef are small entities within

the meaning of the RFA, as each is a “not-for-profit enterprise which is independently owned and

operated and is not dominant in its field.” 5 Id. 601(4).

               EOIR did not publish a regulatory flexibility analysis concerning the Rule.

               EOIR instead purported to certify that the Rule would not “have a significant

economic impact on a substantial number of small entities,” so that no regulatory flexibility

analysis was required. 85 Fed. Reg. at 81748.

               The RFA requires that such certifications be made by “the head of the agency.” 5

U.S.C. § 605(b).

               The “head of the agency” of which EOIR is a part is the Attorney General.




       5
         Plaintiff NIJC is an entity of a larger nonprofit organization, Heartland Alliance.
Because NIJC is not an independent nonprofit, this claim is not being brought on behalf of NIJC
or Heartland Alliance.

                                                 72
            Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 73 of 75




               EOIR’s certification was made by Defendant McHenry, not by the Attorney

General, and is therefore invalid.

               In addition, EOIR’s certification is incorrect, because the Rule is a rule that affects

small entities within the meaning of the RFA. 5 U.S.C. § 601(2). If the Rule goes into effect, it

will directly regulate Plaintiffs, including by requiring them to comply with the Rule’s procedural

requirements, such as the 15-day application deadline, when they represent asylum-seeking clients.

               The RFA requires agencies to describe and estimate the number of small entities

that would be affected by a rule that they promulgate, including reporting and other compliance

requirements. Id. § 604(a)(4), (5). It also requires agencies to describe:

       the steps the agency has taken to minimize the significant economic impact on small
       entities consistent with the stated objectives of applicable statutes, including a statement of
       the factual, policy, and legal reasons for selecting the alternative adopted in the final rule
       and why each one of the other significant alternatives to the rule considered by the agency
       which affect the impact on small entities was rejected.

Id. § 604(a)(6).

               Defendants violated the RFA when they failed to undertake and publish a final

regulatory flexibility analysis before promulgating the Rule.




                                                 73
    Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 74 of 75




                          PRAYER FOR RELIEF

WHEREFORE, Plaintiffs request that the Court:

      (A)    Grant a temporary restraining order staying the effective date of the Rule;

      (B)    Stay the implementation or enforcement of the Rule under 5 U.S.C. § 705

             pending the Court’s final adjudication of the claims herein;

      (C)    Stay the implementation of the Rule pending a remand to the agency to

             conduct a regulatory flexibility analysis under 5 U.S.C. § 611(a)(4);

      (D)    Hold unlawful and set aside the Rule under 5 U.S.C. § 706(2);

      (E)    Declare the Rule arbitrary, capricious, an abuse of discretion, otherwise

             not in accordance with law, in excess of statutory authority, and without

             observance of procedure as required by law, in violation of the APA;

      (F)    Declare the Rule unconstitutional for violating the Due Process guarantee

             of the Fifth Amendment of the United States Constitution;

      (G)    Enter a preliminary and permanent nationwide injunction, enjoining

             Defendants, their officials, agents, employees, and assigns from

             implementing or enforcing the Rule;

      (H)    Award Plaintiffs reasonable attorneys’ fees and costs pursuant to 28

             U.S.C. § 2412;

      (I)    Grant any other and further relief this Court may deem just and proper.




                                      74
             Case 1:21-cv-00056 Document 1 Filed 01/08/21 Page 75 of 75




Dated: January 8, 2021

                                             Respectfully submitted,

Keren Zwick (D.D.C. Bar. No. IL0055)         /s/ Kristen A. Lejnieks
Mark Fleming                                 Kristen A. Lejnieks (DC Bar No. 502136)
NATIONAL IMMIGRANT JUSTICE CENTER            Parker A. Rider-Longmaid (DC Bar No. 1552207) *
224 S. Michigan Ave., Suite 600              JONES DAY
Chicago, IL 60604                            51 Louisiana Ave, NW
Telephone: (312) 660-1370                    Washington, DC 20001-2113
Email: kzwick@heartlandalliance.org          Telephone: (202) 879-3939
Email: mfleming@heartlandalliance.org        Facsimile: (202) 626-1700
                                             Email: kalejnieks@jonesday.com
Sarah Thompson (D.D.C. Bar No. CA00073)      Email: priderlongmaid@jonesday.com
NATIONAL IMMIGRANT JUSTICE CENTER
PO Box 124975                                David R. Fox (DC Bar No. 1015031)
San Diego, CA 92112                          Laura Diss Gradel
Telephone: (312) 660-1370                    JONES DAY
Email: sthompson@heartlandalliance.org       100 High Street, 21st Floor
                                             Boston, MA 02100
                                             Telephone: (617) 960-3939
                                             Facsimile: (617) 449-6999
                                             Email: drfox@jonesday.com
                                             Email: lgradel@jonesday.com

                                             David Ledet
                                             JONES DAY
                                             500 Grant Street Suite 4500
                                             Pittsburgh, PA 15219
                                             Telephone: (412) 394-7271
                                             Facsimile: (412) 394-7959
                                             Email: dledet@jonesday.com


                                             Counsel for Plaintiffs




       *
           D.D.C. Bar application pending.
